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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

---------------------------------x
                                    :
In re:                              :                         Chapter 11
                                    :
QUIKSILVER, INC., et al.,           :                         Case No. 15-11880 (BLS)
                                    :
                          Debtors.1 :                         (Jointly Administered)
                                    :
---------------------------------x

     AFFIDAVIT OF PUBLICATION OF THE NOTICE OF (A) ENTRY OF ORDER
       CONFIRMING THIRD AMENDED JOINT CHAPTER 11 PLAN OF
REORGANIZATION OF QUIKSILVER, INC. AND ITS AFFILIATED DEBTORS AND
 DEBTORS IN POSSESSION, (B) OCCURRENCE OF EFFECTIVE DATE, AND (C)
 CERTAIN DEADLINES IN THE NEW YORK TIMES (NATIONAL EDITION), THE
LOS ANGELES TIMES (NATIONAL EDITION), THE ORANGE COUNTY REGISTER
        AND THE NEW YORK TIMES (INTERNATIONAL EDITION)

        This Affidavit of Publication includes the sworn statement verifying that the Notice of
(A) Entry of Order Confirming Third Amended Joint Chapter 11 Plan of Reorganization of
Quiksilver, Inc. and its Affiliated Debtors and Debtors in Possession, (B) Occurrence of
Effective Date, and (C) Certain Deadlines was published and incorporated by reference herein as
follows:

    1. In The New York Times (National Edition) on February 18, 2016, attached hereto as
       Exhibit A;

    2. In the Los Angeles Times (National Edition) on February 18, 2016, attached hereto as
       Exhibit B;

    3. In The Orange County Register on February 18, 2016, attached hereto as Exhibit C; and

    4. In the International New York Times on February 18, 2016, attached hereto as Exhibit D.




1
    The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
    Quiksilver, Inc. (9426), QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc.
    (8945), Hawk Designs, Inc. (1121), Mt. Waimea, Inc. (5846), QS Optics, Inc. (2493), QS Retail, Inc. (0505),
    Quiksilver Entertainment, Inc. (9667), and Quiksilver Wetsuits, Inc. (9599). The address of the Debtors'
    corporate headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.
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                Exhibit A
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                                                                                                                                                Case 15-11880-BLS                             Doc 825            Filed 02/23/16                Page 4 of 14
CMYK                                                                                                                                    Nxxx,2016-02-18,B,002,Bs-BW,E2


B2                                0 N                                                                                                                                THE NEW YORK TIMES BUSINESS THURSDAY, FEBRUARY 18, 2016




Bombardier to Cut 7,000 Jobs as New Airplanes Struggle                                                                                                                                                                                                                                                                                         BUSINESS BRIEFING

                    By IAN AUSTEN
                                                                                                                                                                                                                                                                                                                                               Toyota Recalls 3 Million S.U.V.s
   OTTAWA — Bombardier, the
Canadian transportation com-                                                                                                                                                                                                                                                                                                                   Because of Faulty Seatbelts
pany, said on Wednesday that it                                                                                                                                                                                                                                                                                                                Toyota said on Thursday that it
would lay off about 7,000                                                                                                                                                                                                                                                                                                                      was conducting a global recall of
employees over the next two                                                                                                                                                                                                                                                                                                                    2.87 million vehicles because their
years, as it struggles to find                                                                                                                                                                                                                                                                                                                 seatbelts could be damaged by a
buyers for a new series of planes
                                                                                                                                                                                                                                                                                                                                               metal seat-frame part in the event
that for the first time put it in di-
rect competition with the aviation                                                                                                                                                                                                                                                                                                             of a crash. In an email, the au-
giants Boeing and Airbus.                                                                                                                                                                                                                                                                                                                      tomaker said that the global recall
   After a prolonged drought in                                                                                                                                                                                                                                                                                                                involved its RAV4 sport utility
sales announcements, Bom-                                                                                                                                                                                                                                                                                                                      vehicle model produced between
bardier said that Air Canada,                                                                                                                                                                                                                                                                                                                  July 2005 and August 2014, and its
which has its headquarters in                                                                                                                                                                                                                                                                                                                  Vanguard S.U.V. produced be-
Montreal, had signed a letter of in-                                                                                                                                                                                                                                                                                                           tween October 2005 and January
tent to buy 45 of the new CSeries                                                                                                                                                                                                                                                                                                              2016. The recall includes 1.3 mil-
planes, with options for 30 more.                                                                                                                                                                                                                                                                                                              lion vehicles in North America.
Bombardier expects to start deliv-                                                                                                                                                                                                                                                                                                             The automaker said it had re-
ering the aircraft within three
                                                                                                                                                                                                                                                                                                                                               ceived two reports in which rear
years and estimated that all 75
planes could cost up to $6.4 billion.                                                                                                                                                                                                                                                                                                          seatbelts separated after crashes.
   The company also reported on                                                                                                                                                                                                                                                                                                                Toyota said it could not determine
Wednesday that its revenue had                                                                                                                                                                                                                                                                                                                 whether these episodes were
fallen to just over $18 billion in                                                                                                                                                                                                                                                                                                             linked to any injuries or fatalities.
2015, from about $20 billion in the                                                                                                                                                                                                                                                                                                                                                              (REUTERS)
previous year. It lost $2.58 a share
for the year, compared with a loss                                                                                                                                                                                                                                                                                                             Aston Martin and LeEco
of 74 cents in 2014.                                                                                                                                                                                                                                                                                                                           Plan to Develop Electric Car
   While the Air Canada sale pro-
vided important help for the                                                                                                                                                                                                                                                                                                                   The British luxury-car maker
CSeries, sales of the aircraft re-                                                                                                                                                                                                                                                                                                             Aston Martin has set up a venture
main below levels that analysts                                                                                                                                                                                                                                                                                                                with the Chinese consumer elec-
generally view as assuring the                                                                                                                                                                                                                                                                                                                 tronics group LeEco to jointly
project’s success. Including the 45                                                                                                                                                                                                                                                                                                            develop an electric vehicle. Aston
planes for Air Canada, Bom-                                                                                                                                                                                                                                                                                                                    Martin and LeEco said that the
bardier now has 288 firm orders.                                                                                                                                                                                                                                                                                                               car would be based on Aston
   While the CSeries airplanes                                                                                                                                                                                                                                                                                                                 Martin’s Rapide S model, and that
have won praise for their techni-                                                                                                                                                                                                                                                                                                              if successful the venture would
cal abilities, their development                                                                                                                                                                                                                                                                                                               develop other electric vehicles,
has been plagued by delays. That
                                                                                                                                                                                                                                                                                                                                               including for LeEco. Financial
allowed Airbus and Boeing to                                                                                                                                                                                                                        PAUL CHIASSON/THE CANADIAN PRESS, VIA ASSOCIATED PRESS
adapt their smaller airliners to                                                                                                                                                                                                                                                                                                               terms of the transaction were not
use the unusually fuel-efficient
                                                                                   Alain Bellemare, left, chief of Bombardier, with Calin Rovinescu, his counterpart at Air Canada, which has agreed to buy 45 jets.                                                                                                                           disclosed. The automaker said the
and quiet engine technology that                                                                                                                                                                                                                                                                                                               new car would come to market in
                                                                                                                                                                   warned that costs resulting from               “Our liquidity position will re-             its plans, the idea of federal assist-                                          2018.                   (REUTERS)
Bombardier had hoped to intro-
duce to the market. The larger
                                                                                   Advanced jets meant                                                             the move to full-scale production           main strong,” he said.                          ance to Bombardier is unpopular
companies have also been ag-                                                       to compete with                                                                 of the airliner would be a drain on            Despite that, Mr. Bellemare                  in Western Canada, partly be-                                                   Iron Ore Giant Begins Tests
gressive in offering airlines deals                                                                                                                                Bombardier’s financial perform-             also said that obtaining a similar              cause no such aid is being pro-                                                 At Its Largest Mine
to keep them from buying Bom-                                                      Boeing and Airbus                                                               ance this year.                             investment from the government                  posed for its struggling oil and gas
                                                                                                                                                                                                                                                                                                                                               The Brazilian company Vale, the
bardier’s planes.                                                                                                                                                     While there have been concerns           of Canada remained “very criti-                 industry.
   Air Canada has not signed for-                                                  have faced delays.                                                              that the CSeries program might              cal” for the company. Such an infu-                The layoffs will affect Bom-                                                 world’s biggest iron ore producer,
mal contracts for the 45 planes,                                                                                                                                   force Bombardier into a financial           sion, he said, would give airlines              bardier’s thriving rail operations,                                             said on Wednesday that it had
which will be the larger CS300                                                                                                                                     crisis, Mr. Bellemare said that a $1        further confidence in the future of             as well as its aviation business.                                               begun testing equipment at its
version. Neither it nor Bom-                                                                                                                                       billion investment by the province          the CSeries and provide Bom-                    The company said nearly half of                                                 largest mine, in the Brazilian
bardier offered details about sales                                                conference call with analysts on                                                of Quebec and a $1.5 billion infu-          bardier with added financial flexi-             the announced job cuts would take                                               Amazon. Tests began with a
prices, financing or other terms of                                                Wednesday that the first CSeries                                                sion from the province’s pension            bility.                                         place in Europe, where nearly                                                   nearly six-mile-long conveyor belt
the sale.                                                                          planes would begin service this                                                 and investment fund meant that                 While the Liberal government                 3,400 jobs would be affected. A fur-                                            that takes iron ore from the
   Alain Bellemare, chief execu-                                                   year with Swiss International Air                                               Bombardier now had $6.4 billion             led by Prime Minister Justin                    ther 2,800 jobs will be cut in Cana-                                            mine’s open-cut pit to a process-
tive of Bombardier, confirmed in a                                                 Lines, a unit of Lufthansa. But he                                              in cash.                                    Trudeau has not clearly indicated               da.                                                                             ing facility, said Jamil Sebe,
                                                                                                                                                                                                                                                                                                                                               project director for the company’s
                                                                                                                                                                                                                                                                                                                                               Amazon iron assets. The mine has

Industrial Production Jumps, Pointing to Resilience in U.S. Economy                                                                                                                                                                                                                                                                            a planned capacity to produce 90
                                                                                                                                                                                                                                                                                                                                               million metric tons of high-grade
                                                                                                                                                                                                                                                                                                                                               ore a year.               (REUTERS)
   WASHINGTON (Reuters) —                                                             Industrial production rose 0.9                                               was encouraging, pointing to a              starting to push up wage growth.                Industrial Production
Industrial production in the                                                       percent last month, the largest in-                                             respite in the ongoing recession              “We continue to believe that the
United States had its largest gain                                                 crease since November 2014, the                                                 engulfing the U.S. industrial sec-          housing market will be one of the               Index of total industrial production,                                           Venezuela Devalues Currency
in 14 months in January as manu-                                                   Fed said. That followed a 0.7 per-                                              tor,” said Millan Mulraine, deputy          bright spots for the domestic                   2007 = 100, seasonally adjusted.                                                And Raises Price of Gasoline
facturing and utilities output in-                                                 cent decline in December and was                                                chief economist at TD Securities            economy in 2016,” said Mark Vit-
creased, the latest sign that the                                                  helped by a 0.5 percent advance in                                              in New York.                                ner, a senior economist at Wells                                 NOV.                 DEC.                  JAN.                Venezuela’s president, Nicolás
economy regained some ground                                                       manufacturing output.                                                              In a separate report, the Com-           Fargo Securities in Charlotte,                  108             –0.8%                –0.7%                 +0.9%                Maduro, on Wednesday devalued
early in the year.                                                                    The rise in manufacturing pro-                                               merce Department said ground-               North      Carolina,    “reflecting                                                                                             the currency by 37 percent and
   While other data on Wednesday                                                   duction reflected gains in the out-                                             breaking activity on new housing            stronger job growth, increased                                                                                                  raised fuel prices for the first time
showed a surprise decline in hous-                                                 put of long-lasting goods, as well                                              projects fell 3.8 percent to a              household formations and the cur-                                                                                               in 17 years. The measures are
ing starts last month, that was                                                    as food and chemicals. But manu-                                                seasonally adjusted annual pace             rent paucity of supply, particu-                                                                                                meant to help shore up the na-
                                                                                                                                                                                                                                                               107
probably because of bad weather,                                                   facturing is not out of trouble and                                             of 1.099 million units last month.          larly in the new-home market.”                                                                                                  tion’s finances as dropping oil
especially in the Northeast and                                                    will continue to be buffeted by a                                               Starts dropped in the Northeast,              In another report, the Labor De-                                                                                              prices and a collapsing state-led
Midwest. With building permits                                                     strong dollar, weak global demand                                               which was blanketed by snow-                partment said its producer price                                                                                                economic model have left the
ahead of groundbreaking activity,                                                  and lower oil prices.                                                           storms last month, and tumbled in           index edged up 0.1 percent in Jan-                                                                                              country with a severe recession,
home construction is likely to pick                                                   Industrial production was also                                               the Midwest.                                uary as the cost of services in-                106
                                                                                                                                                                                                                                                                                                                                               high inflation and product short-
up in the months ahead.                                                            lifted by a 5.4 percent surge in util-                                             Building permits dipped 0.2              creased, after slipping 0.2 percent
                                                                                                                                                                                                                                                                                                                                               ages. The price of premium gaso-
   The first increase in industrial                                                ities production as the return of                                               percent to a 1.202 million-unit rate        in December. In the 12 months
output in five months should help                                                  normal winter temperatures                                                      last month. Permits remain above            through January, the index de-                                                                                                  line will rise to 6 bolívars from
allay the fears of a recession that                                                produced a jump in demand for                                                   starts, indicating that building ac-        creased 0.2 percent, after declin-              105                                                                             0.097 bolívars a liter, but fuel is so
have shaken up the stock market                                                    heating. Mining output was flat af-                                             tivity will rebound in the coming           ing 1 percent in December.                                                                                                      heavily subsidized that filling up a
                                                                                                                                                                                                                                                                        ’14               ’15                                                  small car will still cost about 23
and eliminated bets for an inter-                                                  ter four consecutive months of                                                  months. In addition, housing mar-             The increase in services was led
est-rate increase from the Federal                                                 hefty declines.                                                                 ket fundamentals remain strong,             by a 4 percent gain in margins for              Source: Federal Reserve                                                         cents, based on the black market
Reserve in March.                                                                     “The overall tone of this report                                             with a tightening labor market              machinery and equipment.                                                                  THE NEW YORK TIMES                    exchange rate.            (REUTERS)




Russia Sues Ukraine in London Over Unpaid Debt Claim                                                                                                                                                                                                           Simmons Announces Plans
          By ANDREW E. KRAMER
   MOSCOW — Russia filed a law-
                                                                                   accord still faces major obstacles.
                                                                                      The new Ukrainian cabinet has
                                                                                                                                                                   mercial disputes in European
                                                                                                                                                                   courts, which are perceived to be
                                                                                                                                                                   more evenhanded than those in
                                                                                                                                                                                                               full.
                                                                                                                                                                                                                  The murky structuring of the                 For Post-Grantland Website
suit against Ukraine in the Lon-                                                   insisted that Moscow agree to the                                                                                           loan is proving contentious in the
don High Court on Wednesday                                                        same 20 percent write-down and                                                  former Soviet countries.                    latest run-in between Ukraine and                                By JOHN KOBLIN                                                 ture. Mr. Simmons has announced
over $3 billion in unpaid loans, es-                                               delay in repayment that was ac-                                                    The Russian energy giant                 Russia. Moscow provided the                        The sports personality Bill Sim-                                             about a dozen hires for the Ringer,
calating a legal battle that is add-                                               cepted by commercial creditors in                                               Gazprom is seeking $29.2 billion            funds to Ukraine in December                    mons’s much anticipated new                                                     the majority of whom worked with
ing to the geopolitical tensions be-                                               a restructuring deal last year.                                                 from Ukraine in a Stockholm arbi-           2013 in an unsuccessful attempt to              website has a name: the Ringer.                                                 him at Grantland. When the site
tween the countries.                                                               President Vladimir V. Putin of                                                                                              prop up the government of Presi-                   The site, which also already has                                             does debut, it will end what will
   The lawsuit centers on a contro-                                                Russia has rejected the deal as un-                                                                                         dent Viktor F. Yanukovych, who                  a web address, is expected to de-                                               have effectively been a yearlong
versial $3 billion loan that Russia                                                fair.                                                                                                                       was ousted two months later. Rus-               but this year, either by the spring                                             hiatus from writing for Mr. Sim-
granted to Ukraine in 2013 under                                                      Russia’s finance minister, An-                                               An escalation of a                          sia had, for unclear reasons, struc-            or early summer, according to a                                                 mons, who has developed a loyal
the former Ukrainian president.                                                    ton Siluanov, told reporters in                                                                                                                                             news release on Wednesday. The                                                  and substantial following for his
In December, Ukraine declared a                                                    Moscow that his ministry had                                                    legal battle adds to                        tured the loan as a Eurobond, a fi-
                                                                                                                                                                                                               nancial instrument typically used               site will begin producing an email                                              columns written in the voice of the
moratorium on paying the debts,                                                    sued after “repeated unsuccessful
                                                                                   attempts to encourage Ukraine”
                                                                                                                                                                   tensions for two                            in commercial transactions rather               newsletter in mid-March.                                                        rabid, and often frustrated, fan
                                                                                                                                                                                                                                                                                                                                               that he is.
unless Russia joined a restructur-                                                                                                                                                                             than in loans between two coun-                    Mr. Simmons left ESPN and the
ing program that included other                                                    to settle in negotiations.                                                      countries.                                  tries.                                          website he founded, Grantland,                                                     In addition to the Ringer, Mr.
creditors.                                                                            Ukraine was not “negotiating in                                                                                             The new Ukrainian govern-                    last year under bitter circum-                                                  Simmons will also have an HBO
   The dispute is the latest be-                                                   a spirit of good will,” Mr. Siluanov                                                                                        ment, deeply at odds with Russia,               stances. In the months since his                                                show that will have its premiere
tween Ukraine and Russia to spill                                                  said in announcing the lawsuit.                                                                                             has insisted that the loan now be               departure, Mr. Simmons has res-                                                 this year. Last week, HBO an-
off the battlefield and into Euro-                                                    Despite blaming the West for                                                 tration court for what it says are                                                          urrected a podcast he once did for                                              nounced that Stuart Miller, the
                                                                                                                                                                   various breaches of the terms of a          treated as a commercial transac-
pean courts. While a shaky cease-                                                  geopolitical woes, many Russian                                                                                             tion, making it subject to the re-              Grantland. He has not been shy                                                  former co-executive producer of
fire has reduced violence in                                                       companies and even government                                                   natural gas contract.                                                                       about saying that ESPN let him go                                               “The Daily Show with Jon Stew-
                                                                                                                                                                      Ukraine’s prime minister, Ar-            structuring deal.
eastern Ukraine, a year-old peace                                                  ministries prefer to settle com-                                                                                                                                            rather than renewing his contract                                               art,” would serve as executive
                                                                                                                                                                   seniy P. Yatsenyuk, announced in               Russia argues that the bonds
                                                                                                                                                                                                                                                               because he criticized the National                                              producer of the show. Jason Ross,
                                                                                                                                                                   Parliament on Tuesday that Kiev,            should not be subject to the terms
                                                                                                                                                                                                                                                               Football League and its commis-                                                 another “Daily Show” veteran,
         IN THE UNITED STATES BANKRUPTCY COURT                                   Bankruptcy Court order, any proofs of Claim asserting Claims arising from         in turn, was seeking $22.5 billion          of the commercial debt restruc-
                FOR THE DISTRICT OF DELAWARE                                     the rejection of the Executory Contracts and Unexpired Leases pursuant to                                                                                                     sioner, Roger Goodell. ESPN has                                                 was named head writer.
                                   ) Chapter 11                                  the Plan or otherwise must be filed with the Claims and Solicitation Agent        from Gazprom in countersuits.               turing, a position backed by the
 In re:                                                                                                                                                                                                                                                        denied that.                                                                       On Wednesday, when a person
 QUIKSILVER, INC., et al., )
                                   ) Case No. 15-11880 (BLS)                     no later than 30 days after the later of the Effective Date or the effective      Neither side is likely to collect in        International Monetary Fund.
            Debtors.1                  Jointly  Administered                     date of rejection.                                                                                                                                                               Months after Mr. Simmons’s de-                                               asked Mr. Simmons on Twitter
                                   ) Related Docket Nos. 731, 740                   PLEASE TAKE FURTHER NOTICE that, pursuant to Article VII, except
    NOTICE OF (A) ENTRY OF ORDER CONFIRMING THIRD                                as otherwise set forth in the Plan or Confirmation Order, each Executory                                                                                                      parture, ESPN shut Grantland.                                                   what lessons he learned from his
AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION Contract or Unexpired Lease listed on the Schedule of Assumed Executory                                                                                                                                           The Ringer looks as if it will be                                            experience of running a business
                                                                                 Contracts and Unexpired Leases in the Plan Supplement are deemed
     OF QUIKSILVER, INC. AND ITS AFFILIATED DEBTORS
     AND DEBTORS IN POSSESSION, (B) OCCURRENCE OF                                assumed as of the Effective Date, and shall be assumed, or assumed and                                       The Times Book Review,                                           similar to Grantland, which cov-                                                like Grantland, Mr. Simmons re-
                                                                                 assigned, as applicable, and shall vest in and be fully enforceable by the
        EFFECTIVE DATE, AND (C) CERTAIN DEADLINES
                                                                                 Reorganized Debtors or their assignees in accordance with its terms,
    PLEASE TAKE NOTICE that on January 29, 2016, the United States except as modified by the provisions of the Plan or any order of the
                                                                                                                                                                                                   every Sunday                                                ered a mix of sports and pop cul-                                               plied: “Don’t do it with ESPN.”
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) Bankruptcy Court authorizing or providing for its assumption or applicable
entered an order (the “Confirmation Order”) [Docket No. 740] confirming federal law.Unless otherwise provided in the Plan, each Executory Contract
the Third Amended Joint Chapter 11 Plan of Reorganization of Quiksilver, or Unexpired Lease that is assumed shall include all modifications, amend-
Inc. and Its Affiliated Debtors and Debtors in Possession [Docket No. 731] ments, supplements, restatements, or other agreements that in any man-
(the “Plan”).2 Copies of the Confirmation Order and the Plan, together with ner affect such Executory Contract or Unexpired Lease, and all rights related                                                                                                               IN THE UNITED STATES BANKRUPTCY COURT                                 payable at any time subsequent to the Petition Date but on or before
all pleadings and orders of the Bankruptcy Court in the above-captioned thereto, if any, including all easements, licenses, permits, rights, privileges,                                                                                                                        FOR THE DISTRICT OF DELAWARE                                  December 31, 2015 (the “Initial Administrative Claims Period”) must file
chapter 11 cases, are publicly available by accessing the Bankruptcy Court’s immunities, options, rights of first refusal, and any other interests, unless                                               Federal District Fire Department (CBMDF)               In re:                                                                        an Administrative Claim Form so that it is actually received by BMC on or
website, http://www.deb.uscourts.gov, for a nominal charge (a PACER any of the foregoing agreements has been previously rejected or repudi-                                                                                                                     RESTAURANTS ACQUISITION I, LLC,1 Chapter 11                                   before March 14, 2016 at 5:00 p.m. (Eastern Time).
                                                                                                                                                                                                         Acquisition And Contracting Section                                           Debtor.                 Case No. 15-12406 (KG)            Proof of Claim Forms and Administrative Claim Forms (together,“Claim
account is required), or by accessing the website of the Debtors’ claims, ated or is rejected or repudiated pursuant to the Plan. The Confirmation
noticing and balloting agent, Kurtzman Carson Consultants, LLC (the Order shall constitute an order of the Bankruptcy Court approving any such                                                                                                                   NOTICE OF ENTRY OF BAR DATE ORDER ESTABLISHING Forms”)                       by BMC
                                                                                                                                                                                                                                                                                                                                                      must be delivered to BMC, so that such forms are actually received
                                                                                                                                                                                                                                                                                                                                                     by the applicable Bar Date, at the following address: if by mail, BMC
“Claims and Solicitation Agent”), https://www.kccllc.net/quiksilver, free assumptions pursuant to sections 365(a) and 1123 of the Bankruptcy Code.                                                                                                               DEADLINES FOR FILING CLAIMS AGAINST THE DEBTOR Group, Inc.,
of charge.                                                                                                                                                                                                                                                                                                                                                Attn: RAI Claims Processing, PO Box 90100, Los Angeles, CA
                                                                                    PLEASE TAKE FURTHER NOTICE that, unless a counterparty to an                                                                                                               PLEASE TAKE NOTICE THAT:                                                       90009; and if by messenger or overnight courier, BMC Group, Inc., Attn: RAI
    PLEASE TAKE FURTHER NOTICE that on February 11, 2016, the assumed Executory Contract or Unexpired Lease has filed or files a proper                                          BIDDING PROCESS ANNOUNCEMENT – NEW OPENING                                         On December 2, 2015 (the “Petition Date”), the above-captioned Claims Processing, 300 N. Continental Blvd., #570, El Segundo, CA 90245.
Effective Date of the Plan occurred. All conditions precedent to consumma- and timely objection to the Cure Notice or proposed Cure on or before the                          INTERNATIONAL IN PERSON REVERSE AUCTION N. 01/2014                               debtor and debtor-in-possession (the “Debtor”) filed a voluntary petition Claim Forms shall not be submitted by facsimile, telecopy, e-mail or other
tion of the Plan set forth in Article XI have either been satisfied or waived in deadline set forth in the applicable Cure Notice, such counterparty shall be                                                                                                  for relief under chapter 11 of the U.S. Bankruptcy Code (the “Bankruptcy electronic means, and Claim Forms submitted by such means shall not be
accordance with the Plan and Confirmation Order.                                 deemed to have consented to the Cure Amount and shall be forever barred                                                                                                       Code”) with the U.S. Bankruptcy Court for the District of Delaware (the deemed timely filed.
    PLEASE TAKE FURTHER NOTICE that, except as set forth in from asserting, collecting, or seeking to collect any additional amounts                                   PROCESS n. 053.001.759/2012/CBMDF. TYPE: Lowest price. OBJECT: PRICE                    “Bankruptcy Court”).                                                              Any person or entity that is required to file a Claim Form in the
the Plan or the Confirmation Order, all requests for payment relating thereto against the Debtors or the Reorganized Debtors, or the                                                                                                                                On February 8, 2016, the Bankruptcy Court entered an order [Docket No. form and manner specified in the Bar Date Order and that fails
of an Administrative Claim must be filed with the Claims and property of any of them.                                                                                  REGISTRATION of flight helmet as personal protective equipment to the                   143] (the “Bar Date Order”) establishing the following deadlines (the “Bar to do so on or before the applicable Bar Date: (i) shall be forever
Solicitation Agent on or before March 14, 2016, the first business                                                                                                     FEDERAL DISTRICT FIRE DEPARTMENT (CBMDF), according to requirements,                    Dates”) for filing Proof of Claim Forms and Administrative Claim Forms (as barred, estopped and enjoined from asserting such claim against
day following the date that is 30 days after the Effective Date.                 Dated: Wilmington, Delaware, February 11, 2016, SKADDEN, ARPS, SLATE,
                                                                                                                                                                                                                                                               such terms are defined in the Bar Date Order) with BMC Group, Inc.(“BMC”), the Debtor, its estate or its property, or thereafter filing a Claim
    PLEASE TAKE FURTHER NOTICE that all final requests for payment of MEAGHER & FLOM LLP, /s/ Van C. Durrer, II , Van C. Durrer, II (I.D. No. 3827),                   quantities and provisions contained in the official bidding announcement,               the Debtor’s Court-appointed claims agent:                                     Form with respect thereto in the chapter 11 case; (ii) shall not,
Professional Claims for services rendered to the Debtors from the Petition Annie Z. Li, 300 South Grand Avenue, Suite 3400, Los Angeles, California                    in the Annex 1, and other documents of bidding process. The Director of                      General Bar Date. Each person or entity (including, without limita- with respect to such claim, be treated as a creditor of the Debtor
Date through and including the Effective Date shall be filed with the 90071, Telephone: (213) 687-5000, Fax: (213) 687-5600 -and- Mark                                                                                                                         tion, each individual, partnership, joint venture, corporation, limited for the purpose of voting upon any plan in this proceeding; and
Bankruptcy Court on or before March 28, 2016, the first business day fol- S. Chehi (I.D. No. 2855), One Rodney Square, P.O. Box 636, Wilmington,                       Acquisition and Contracting of CBMDF announces the NEW OPENING of                       liability company, estate, trust or governmental unit) holding or assert- (iii) shall not receive or be entitled to receive any payment or
lowing the date that is forty-five (45) days after the Effective Date.           Delaware 19899-0636, Telephone: (302) 651-3000, Fax: (302) 651-3001                                                                                                           ing a claim (as such term is defined in Bankruptcy Code section 101(5)) distribution of property from the Debtor or its successors or
    PLEASE TAKE FURTHER NOTICE pursuant to Article VII of the Plan, -and- John K. Lyons, Jessica Kumar, 155 N. Wacker Dr., Chicago, Illinois
                                                                                                                                                                       bidding process on March, 21st, 2016, at 2:00 pm. Place: Sala de Licitações of          against the Debtor that arose (or is deemed to have arisen) on or before the assigns with respect to such claim.
unless an Executory Contract or Unexpired Lease: (a) is listed on the            60606,   Telephone: (312) 407-0700, Fax: (312) 407-0411, Counsel for                  CBMDF, at SAM, Quadra B, Bloco D, Brasília – DF, Brasil, ZIP CODE 70.620-000.           Petition Date must file a Proof of Claim Form so that it is actually received     Copies of the Bar Date Order and the Claim Forms may be
Schedule of Assumed Executory Contracts and Unexpired Leases contained Debtors   1
                                                                                          and Debtors in Possession
                                                                                                                                                                       OFFICIAL BIDDING ANNOUNCEMENT on the site www.cbm.df.gov.br and www.                    by BMC on or before March 14, 2016 at 5:00 p.m. (Eastern Time).                viewed and downloaded free of charge at BMC’s website and also
in the Plan Supplement; (b) has been previously assumed by the Debtors              The   Debtors  and the last four digits of their respective taxpayer iden-                                                                                                      Governmental Bar Date. Each governmental unit holding or may be obtained by written request to BMC at BMC Group, Inc.,
by Final Order of the Bankruptcy Court or has been assumed by the Debtors tification numbers are as follows: Quiksilver, Inc. (9426), QS Wholesale,                    comprasnet.gov.br (UASG to CBMDF: 170394). For more information: +55 61                 asserting a claim against the Debtor that arose (or is deemed to have Attn: RAI Claims Processing, PO Box 90100, Los Angeles, CA 90009.
by order of the Bankruptcy Court as of the Effective Date, which order           Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc. (8945),                                                                                               arisen) on or before the Petition Date must file a Proof of Claim Form so that    Questions concerning this Notice should be directed to BMC
becomes a Final Order after the Effective Date; (c) is the subject of a motion Hawk Designs, Inc. (1121), Mt. Waimea, Inc. (5846), Q.S. Optics, Inc. (2493),           3901-3481 and +55 61 3901-8659.                                                         it is actually received by BMC on or before May 30, 2016 at 5:00 p.m. in writing at BMC Group, Inc., Attn: RAI Claims Processing, PO Box
to assume or reject pending as of the Effective Date; (d) is an Executory QS Retail, Inc. (0505), Quiksilver Entertainment, Inc. (9667), and Quiksilver                                                                                                        (Eastern Time).                                                                90100, Los Angeles, CA 90009 or by telephone at 310.321.5555.
Contract related to any Intercompany Claim; or (e) is otherwise assumed Wetsuits, Inc. (9599).The address of the Debtors’ corporate headquarters is                                                                                                                 Administrative Claims Bar Date. Each person or entity holding or Please note that BMC’s staff is not permitted to give legal advice.
pursuant to the terms of the Plan, such Executory Contract or Unexpired 5600           Argosy Circle, Huntington Beach, California 92649.                                   JORGE MARTINS RODRIGUES DE OLIVEIRA – CEL QOBM/COMB.                               asserting a claim arising under sections 503(b)(1) through (8) and 507(a) 1 The Debtor’s mailing address is 313 East Main Street, Suite 2,
                                                                                 2
Lease, is deemed automatically rejected as of the Effective Date.                   Capitalized terms used but not defined herein shall have the meanings                             Director of Acquisition and Contracting.                                 (2) of the Bankruptcy Code (each, an “Administrative Claim”) against Hendersonville, TN and the last four digits of its tax identification number
    PLEASE TAKE FURTHER NOTICE that, unless otherwise provided by a ascribed to them in the Plan.                                                                                                                                                              the Debtor that may have arisen, accrued or otherwise become due and are 8761.
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                Exhibit B
Case 15-11880-BLS   Doc 825   Filed 02/23/16   Page 6 of 14
Case 15-11880-BLS                              Doc 825                           Filed 02/23/16                                       Page 7 of 14




                     IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE
                                                  )      Chapter 11
        In re:                                    )
        QUIKSILVER, INC., et al.,                        Case No. 15-11880 (BLS)
                                                  )      Jointly Administered
                Debtors.1                         )      Related Docket Nos. 731, 740
             NOTICE OF (A) ENTRY OF ORDER CONFIRMING THIRD AMENDED JOINT CHAPTER 11 PLAN
           OF REORGANIZATION OF QUIKSILVER, INC. AND ITS AFFILIATED DEBTORS AND DEBTORS IN
                   POSSESSION, (B) OCCURRENCE OF EFFECTIVE DATE, AND (C) CERTAIN DEADLINES
             PLEASE TAKE NOTICE that on January 29, 2016, the United States Bankruptcy Court for the District of Delaware (the
        “Bankruptcy Court”) entered an order (the “Confirmation Order”) [Docket No. 740] confirming the Third Amended Joint Chapter
        11 Plan of Reorganization of Quiksilver, Inc. and Its Affiliated Debtors and Debtors in Possession [Docket No. 731] (the “Plan”).2
        Copies of the Confirmation Order and the Plan, together with all pleadings and orders of the Bankruptcy Court in the above-
        captioned chapter 11 cases, are publicly available by accessing the Bankruptcy Court’s website, http://www.deb.uscourts.gov,
        for a nominal charge (a PACER account is required), or by accessing the website of the Debtors’ claims, noticing and balloting
        agent, Kurtzman Carson Consultants, LLC (the“Claims and Solicitation Agent”), https://www.kccllc.net/quiksilver, free of charge.
             PLEASE TAKE FURTHER NOTICE that on February 11, 2016, the Effective Date of the Plan occurred. All conditions prece-
        dent to consummation of the Plan set forth in Article XI have either been satisfied or waived in accordance with the Plan and
        Confirmation Order.
             PLEASE TAKE FURTHER NOTICE that, except as set forth in the Plan or the Confirmation Order, all requests for
        payment of an Administrative Claim must be filed with the Claims and Solicitation Agent on or before March 14,
        2016, the first business day following the date that is 30 days after the Effective Date.
             PLEASE TAKE FURTHER NOTICE that all final requests for payment of Professional Claims for services rendered to the
        Debtors from the Petition Date through and including the Effective Date shall be filed with the Bankruptcy Court on or before
        March 28, 2016, the first business day following the date that is forty-five (45) days after the Effective Date.
             PLEASE TAKE FURTHER NOTICE pursuant to Article VII of the Plan, unless an Executory Contract or Unexpired Lease: (a) is
        listed on the Schedule of Assumed Executory Contracts and Unexpired Leases contained in the Plan Supplement; (b) has been
        previously assumed by the Debtors by Final Order of the Bankruptcy Court or has been assumed by the Debtors by order of the
        Bankruptcy Court as of the Effective Date, which order becomes a Final Order after the Effective Date; (c) is the subject of a motion
        to assume or reject pending as of the Effective Date; (d) is an Executory Contract related to any Intercompany Claim; or (e) is
        otherwise assumed pursuant to the terms of the Plan, such Executory Contract or Unexpired Lease, is deemed automatically
        rejected as of the Effective Date.
             PLEASE TAKE FURTHER NOTICE that, unless otherwise provided by a Bankruptcy Court order, any proofs of Claim assert-
        ing Claims arising from the rejection of the Executory Contracts and Unexpired Leases pursuant to the Plan or otherwise must
        be filed with the Claims and Solicitation Agent no later than 30 days after the later of the Effective Date or the effective date of
        rejection.
             PLEASE TAKE FURTHER NOTICE that, pursuant to Article VII, except as otherwise set forth in the Plan or Confirmation Order,
        each Executory Contract or Unexpired Lease listed on the Schedule of Assumed Executory Contracts and Unexpired Leases in the
        Plan Supplement are deemed assumed as of the Effective Date, and shall be assumed, or assumed and assigned, as applicable,
        and shall vest in and be fully enforceable by the Reorganized Debtors or their assignees in accordance with its terms, except
        as modified by the provisions of the Plan or any order of the Bankruptcy Court authorizing or providing for its assumption or
        applicable federal law. Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed
        shall include all modifications, amendments, supplements, restatements, or other agreements that in any manner affect such
        Executory Contract or Unexpired Lease, and all rights related thereto, if any, including all easements, licenses, permits, rights,
        privileges, immunities, options, rights of first refusal, and any other interests, unless any of the foregoing agreements has been
        previously rejected or repudiated or is rejected or repudiated pursuant to the Plan. The Confirmation Order shall constitute an
        order of the Bankruptcy Court approving any such assumptions pursuant to sections 365(a) and 1123 of the Bankruptcy Code.
             PLEASE TAKE FURTHER NOTICE that, unless a counterparty to an assumed Executory Contract or Unexpired Lease has filed
        or files a proper and timely objection to the Cure Notice or proposed Cure on or before the deadline set forth in the applicable
        Cure Notice, such counterparty shall be deemed to have consented to the Cure Amount and shall be forever barred from assert-
        ing, collecting, or seeking to collect any additional amounts relating thereto against the Debtors or the Reorganized Debtors, or
        the property of any of them.
        Dated:Wilmington, Delaware, February 11, 2016, SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP, /s/ Van C.Durrer, II ,Van C.Durrer,
        II (I.D. No. 3827), Annie Z. Li, 300 South Grand Avenue, Suite 3400, Los Angeles, California 90071, Telephone: (213) 687-5000,
        Fax: (213) 687-5600 -and- Mark S. Chehi (I.D. No. 2855), One Rodney Square, P.O. Box 636, Wilmington, Delaware 19899-0636,
        Telephone: (302) 651-3000, Fax: (302) 651-3001 -and- John K. Lyons, Jessica Kumar, 155 N. Wacker Dr., Chicago, Illinois 60606,
        Telephone:(312) 407-0700, Fax:(312) 407-0411, Counsel for Debtors and Debtors in Possession
        1
             The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Quiksilver, Inc. (9426),
        QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc. (8945), Hawk Designs, Inc. (1121), Mt. Waimea,
        Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505), Quiksilver Entertainment, Inc. (9667), and Quiksilver Wetsuits, Inc.
        (9599).The address of the Debtors’corporate headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.
        2
             Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Plan.
                                                                                                                                                                                                                                                                                              Case 15-11880-BLS                            Doc 825                          Filed 02/23/16                                      Page 8 of 14
                                                                                                                                                                                                                                                    C6 THURSDAY , FEB RUA RY 18, 2016                                                                                                                                                                                                                             L AT I M E S. CO M/ B U SI N E SS




                                                                                                                                                                                                                                                    Major stock indexes
                                                                                                                                                                                                                                                                                                Daily   Daily %   YTD %
                                                                                                                                                                                                                                                    Index                       Close         change    change    change
                                                                                                                                                                                                                                                    Dow industrials          16,453.83       +257.42      +1.59     -5.57
                                                                                                                                                                                                                                                    S&P 500                   1,926.82        +31.24      +1.65     -5.73
Miller Insert Order Number: R215000
                                                                                                                                                                                                                                                    Nasdaq composite          4,534.06        +98.10      +2.21     -9.45
                                                                                                                                                                                                                                                    S&P 400                   1,309.21        +19.98      +1.55     -6.39
                                                                                                                                                                                                                                                    Russell 2000               1,011.13       +15.33      +1.54    -10.98
                                                                                                                                                                                                                                                    EuroStoxx 50              2,771.95        +63.23      +2.33     -11.10
                                                                                                                                                                                                                                                    Nikkei (Japan)           15,836.36       -218.07      -1.36    -16.80
                                                                                                                                                                                                                                                    Hang Seng (Hong Kong)    18,924.57        -197.51     -1.03    -13.64
                                                                                                                                                                                                                                                    Source: AP


                                                                                                                                                                                                                                                    MARKET ROUNDUP



                                                                                                                                                                                                                                                    Stocks rally as
Miller Advertising - LAT
/ PO# Miller IO#:R2150




                                                                                                                                                                                                                                                    price of oil rises
                                                 This electronic tearsheet confirms the ad appeared in the Los Angeles Times on the date and page indicated. You may not create derivative works,�or in any way exploit or repurpose any content.
Business/C006/LA




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Honda/Wieck
                                                                                                                                                                                                                                                                                              “None of those issues
                                                                                                                                                                                                                                                    associated press
                                                                                                                                                                                                                                                                                          have gone away,” Samana                   THE HONDA ACCORD , which was the top model sold in California in 2014, fell a notch to No. 2 last year.
                                                                                                                                                                                                                                                                                          said. “You’ll continue to see




                                                                                                                                                                                                                                                                                                                                    2015 new car sales climb
                                                                                                                                                                                                                                                        Stocks climbed Wednes-            that kind of pattern.”
                                                                                                                                                                                                                                                    day as investors clung to                 Samana said that U.S.
                                                                                                                                                                                                                                                    hope for an international             firms, large stocks in par-
                                                                                                                                                                                                                                                    deal to stem a global glut in         ticular, are doing pretty well
                                                                                                                                                                                                                                                    crude oil with production             and that investors will even-




                                                                                                                                                                                                                                                                                                                                    11% and nearly set a record
                                                                                                                                                                                                                                                    cutbacks. That sent the               tually start paying more at-
                                                                                                                                                                                                                                                    price of oil sharply higher, as       tention to their perform-
                                                                                                                                                                                                                                                    well as the stocks of energy          ance. But he said it’s pos-
                                                                                                                                                                                                                                                    companies.                            sible that volatility in finan-
                                                                                                                                                                                                                                                        The gains capped a                cial markets will start to
                                                                                                                                                                                                                                                    three-day rally, the longest          affect the broader economy,
                                                                                                                                                                                                                                                    so far in 2016, that has wiped        cutting      into     consumer
                                                                                                                                                                                                                                                    out about half of the mar-            spending and prompting
                                                                                                                                                                                                                                                    ket’s losses since the begin-         businesses to cut jobs.                   [Auto sales, from C1]                                                                                                                                                               rose 5.8%. Trucks gained
Section/Page/Zone:




                                                                                                                                                                                                                                                    ning of the year.                         Although          corporate           strength in compact pick-                                                                                                                                                           2.9% in market share, taking
                                                                                                                                                                                                                                                        The Dow Jones industrial          earnings have been shaky,                 ups, midsize SUVs and large                                         Top-selling cars in California                                                                                  away that percentage from
                                                                                                                                                                                                                                                    average      climbed     257.42       companies that surpassed                  midsize sedans. Toyota cap-                                         Japanese vehicles dominated the market, based on the                                                            cars.
                                                                                                                                                                                                                                                    points, or 1.6%, to 16,453.83.        analysts’ expectations were               tured 21% of all California                                         total amount of new registrations issued in 2015.                                                                   The Ford F-series, the
                                                                                                                                                                                                                                                    The Standard & Poor’s 500             rewarded Wednesday. On-                   new-vehicle sales. Honda                                                                                                                                                            nation’s top-selling vehicle
                                                                                                                                                                                                                                                    index rose 31.24 points, or           line travel company Price-                trailed with 13%.                                                         Honda Civic                                                                                  79,656       for more than three decades,
Client Name:




                                                                                                                                                                                                                                                    1.7%, to 1,926.82. The Nasdaq         line climbed 11.2% after its                  Toyota’s overall sales in-                                                                                                                                                      was the state’s favorite full-
Description:




                                                                                                                                                                                                                                                    composite increased 98.11             profit and revenue beat esti-             creased 5.2% over 2014.                                                                                                                                                             size pickup truck, with
Advertiser:




                                                                                                                                                                                                                                                    points, or 2.2%, to 4,534.06.         mates. Personal navigation                Honda’s were about double                                             Honda Accord                                                                                73,505            44,369 vehicles sold. Chevy’s
                                                                                                                                                                                                                                                        The price of U.S. crude           device maker Garmin rose                  that, at 10.5%.                                                                                                                                                                     Silverado was next, with
                                                                                                                                                                                                                                                    jumped $1.62, or 5.6%, to             16.5% after its fourth-quar-                  As the leader, Toyota had                                            Toyota Prius                                                                            72,040             39,157 units. Ram trailed
                                                                                                                                                                                                                                                    $30.66 a barrel. Brent crude          ter profit topped estimates.              less room to grow market                                                                                                                                                            with 28,050. Among compact
                                                                                                                                                                                                                                                    rose $2.32, or 7.2%, to $34.50.           Watch and accessories                 share, said TrueCar indus-                                            Toyota Camry                                                                         63,290                   pickups, Toyota’s Tacoma
                                                                                                                                                                                                                                                        Energy stocks climbed             maker Fossil posted strong                try analyst Patrick Min. But                                                                                                                                                        dwarfed the competition,
                                                                                                                                                                                                                                                    along with the price of oil.          results, and its annual profit            Honda saw an “aggressive                                                                                                                                                            with 31,082 trucks sold, com-
                                                                                                                                                                                                                                                                                                                                                                                                         Toyota Corolla                                                                        62,553
                                                                                                                                                                                                                                                    Chevron rose 4.1% and Hess            guidance also pleased inves-              product cadence” in 2015,                                                                                                                                                           pared with No. 2 seller Nis-
                                                                                                                                                                                                                                                    picked up 6.4%. Tech stocks           tors. The stock added 28.6%.              with new or refreshed ver-                                                                                                                                                          san Frontier’s 7,831.
                                                                                                                                                                                                                                                    made big gains, led by                    Wholesale gasoline rose               sions of its HR-V, Pilot, Civic                                      Source: California New Car Dealers Assn.                                                                           Nationally, the associa-
                                                                                                                                                                                                                                                    Microsoft, which added                3.3 cents to $1 a gallon. Heat-           and Accord models, he add-                                                                                                       A n g e l i c a Q u i n te r o Los Angeles Times   tion said, overall sales were
                                                                                                                                                                                                                                                    2.6%, and Facebook, which             ing oil rose 6.1 cents, or 5.9%,          ed.                                                                                                                                                                                 up by a less robust rate of 5%
                                                                                                                                                                                                                                                    rose 3.5%.                            to $1.088 a gallon. Natural gas               “The product line is all                                                                                                                                                        over 2014.
                                                                                                                                                                                                                                                        For almost six months,            rose 3.9 cents, or 2%, to $1.942          fresh or all new,” Min said.                                         Jeep sales rose 29.8%; Suba-                                      outdoor brand.”                                  The organization pre-
                                                                                                                                                                                                                                                    stocks have surged and                per 1,000 cubic feet.                     “It’s a brand revival.”                                              ru’s were up 21.9%.                                                  Mazda,     Kia,    Chevy,                 dicted that 2016 will be an
                                                                                                                                                                                                                                                    dropped repeatedly as in-                 Gold rose $3.20 to $1,211.40              The sales picture could                                               Min credited the two                                         Hyundai, Ford, Lexus, Nis-                   equally strong year.
                                                                                                                                                                                                                                                    vestors worry about issues            an ounce. Silver inched up                change soon, though, as To-                                          companies with taking a cre-                                      san and Mercedes-Benz                            “The combination of very
3972956-1




                                                                                                                                                                                                                                                    like the health of China’s            4.3 cents to $15.377 an ounce.            yota’s newly remodeled 2016                                          ative approach to Califor-                                        also saw sales up more than                  low fuel prices, high demand
                                                                                                                                                                                                                                                    economy, the Federal Re-              Copper climbed 2.5 cents to               Prius hits the market. The                                           nia’s product needs.                                              10%.                                         for light trucks, and strong
                                                                                                                                                                                                                                                    serve’s plans on interest             $2.076 a pound.                           new generation of the                                                     The new Jeeps, he said,                                         Following a national                      consumer         affordability
                 2 x 5.25




                                                                                                                                                                                                                                                    rates and plunging oil prices.            The yield on the 10-year              world’s bestselling hybrid                                           “are well executed and really                                     trend, the growth in sales of                should help the market in-
                                                                                                                                                                                                                                                    Sameer Samana, global                 Treasury note jumped to                   has gotten strong critical re-                                       fit in with the younger, urban                                    light    trucks    outpaced                  crease this year,” the associ-
                 B&W




                                                                                                                                                                                                                                                    quantitative strategist for           1.82% from 1.78%. The dollar              ception and could again be a                                         lifestyle.” And Subaru “is the                                    growth in passengers cars                    ation said.
                                                                                                                                                                                                                                                    Wells Fargo Investment In-            fell to 113.77 yen from 113.88            top seller.                                                          darling brand. They have es-                                      sales, and gained market
                                                                                                                                                                                                                                                    stitute, said the ride isn’t          yen. The euro slipped to                      Jeep and Subaru saw the                                          tablished themselves as a                                         share. Statewide, truck sales                charles.fleming
                                                                                                                                                                                                                                                    over yet.                             $1.1139 from $1.1144.                     greatest growth by brand.                                            very genuine brand, and an                                        were up 19.4%, while cars                    @latimes.com
Insertion Number:




                                                                                                                                                                                                                                                    The smart way to make your house energy efficient
Ad Number:



Color Type:




                                                                                                                                                                                                                                                                                          take many years to pay for                Get a home energy audit.                                                                                                                                                                To search which energy-
                                                                                                                                                                                                                                                    associated press
                                                                                                                                                                                                                                                                                          themselves.                               During an energy audit an                                                                                                                                                           efficient appliances and
                                                                                                                                                                                                                                                                                              “You have to make a deci-             expert sizes up the efficiency                                                                                                                                                      other home features qualify
                                                                                                                                                                                                                                                       Making your home more              sion: ‘How environmentally                of your appliances and air                                                                                                                                                          homeowners for federal tax
                                                                                                                                                                                                                                                    energy efficient can help the         friendly do I want to get if it           and heating systems, and                                                                                                                                                            credits for the 2015 tax year,
                                                                                                                                                                                                                                                    environment, lower your               takes me 16 years to break                gauges how much air your                                                                                                                                                            visit the EnergyStar.gov
Size:




                                                                                                                                                                                                                                                    utility bills and possibly help       even on my investment?’”                  home is leaking.                                                                                                                                                                    website.
                                                                                                                                                                                                                                                    you fetch a higher sales              said Sid Davis, a home reno-                 Up to 25% of heating and                                                                                                                                                             Available rebates on En-
                                                                                                                                                                                                                                                    price.                                vator and author of “Your                 cooling costs result from                                                                                                                                                           ergy Star-rated appliances
                                                                                                                                                                                                                                                       But homeowners consid-             Eco-Friendly Home: Buy-                   heat loss, as air moves in and                                                                                                                                                      can also be found on that
                                                                                                                                                                                                                                                    ering a green remodel                 ing, Building or Remodeling               out of a house through holes,                                                                                                                                                       website.
                                                                                                                                                                                                                                                    should also weigh how long it         Green.”                                   improperly sealed windows
                                                                                                                                                                                                                                                    will take for the improve-                Here are some things to               and insufficient insulation.                                                                                                                                                        Consider resale. Certain
                                                                                                                                                                                                                                                    ments to reap savings. Some           consider as you map out                      Check with your electric                                                                                                                                                         green upgrades may add val-
                                                                                                                                                                                                                                                    pricey features, such as re-          your home’s conversion to a               or gas company to see                                                                                                                                                               ue to your home.
                                                                                                                                                                                                                                                    placing windows or buying a           more energy-efficient, envi-              whether it offers home ener-                                                                                                                                                            In the Southwest, home
                                                                                                                                                                                                                                                    solar power system, could             ronmentally friendly pad:                 gy inspections. Often, such                                                                                                                                                         buyers may be more likely to
                                                                                                                                                                                                                                                                                                                                    audits are free.                                                                                                                                                                    view water-sparing land-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        scaping, “smart” sprinklers
                          Publication Date: 02/18/2016




                                                                                                                                                                                                                                                                                                                                    Make easy changes first.                                                                                                                    Maggie Huber Associated Press           or a solar power system as
                                                                                                                                                                                                                                                                                                                                    Tackling less expensive                                              SOME improvements such as solar power can qualify                                                              valuable features of a home
                                                                                                                                                                                                                                                                                                                                    changes first can add up to                                          for rebates from utilities or government tax credits.                                                          than in other parts of the
                                                                                                                                                                                                                                                               The Los Angeles                                                      big savings.
                                                                                                                                                                                                                                                                                                                                        Replacing incandescent                                           tion, the decidedly low-tech                                      mate costs at home-im-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        country where water and en-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ergy costs are less expensive.
                                                                                                                                                                                                                                                                                                                                    lights with compact fluores-                                         but key feature of every ener-                                    provement website Home-                          A recent study tracked
                                                                                                                                                                                                                                                            World Airports (LAWA)                                                   cent light bulbs and using a
                                                                                                                                                                                                                                                                                                                                    programmable thermostat
                                                                                                                                                                                                                                                                                                                                                                                                         gy-efficient home.
                                                                                                                                                                                                                                                                                                                                                                                                            The cost of home insula-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           wyse.com.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               “Adding attic insulation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        single-family homes with so-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        lar power systems in six
                                                                                                                                                                                                                                                                                                                                    to control when air condi-                                           tion can vary, depending on                                       is a good energy saver that                  states that were sold mostly
                                                                                                                                                                                                                                                             is seeking proposals                                                   tioning or heat turns on can
                                                                                                                                                                                                                                                                                                                                    whittle away at your utility
                                                                                                                                                                                                                                                                                                                                                                                                         how much you need and
                                                                                                                                                                                                                                                                                                                                                                                                         which type you use. You can
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           does not break the bank,”
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           said John Ritterpusch, as-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        from 2010 to 2013. The study,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        conducted by real estate ap-
                                                                                                                                                                                                                                                                from qualified Perimeter Intrusion                                  bills. Then there’s insula-                                          find an online tool to esti-                                      sistant vice president of sus-               praisers and the U.S. Energy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           tainability and green build-                 Department’s        Lawrence
                                                                                                                                                                                                                                                             Detection System (PIDS) providers for                                                                                                                                                                         ing at the National Assn. of                 Berkeley National Labora-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Home Builders. “Air sealing                  tory, found that the homes
                                                                                                                                                                                                                                                                 the purpose of implementing and                                                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE
                                                                                                                                                                                                                                                                                                                                                                             )       Chapter 11
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           older homes with a caulk                     sold, on average, for more
                                                                                                                                                                                                                                                                                                                                    In re:                                   )       Case No. 15-11880 (BLS)                                                               gun and a steady hand can                    than other homes without
                                                                                                                                                                                                                                                                  maintaining a PIDS solution as                                    QUIKSILVER, INC., et al.,
                                                                                                                                                                                                                                                                                                                                            Debtors.1
                                                                                                                                                                                                                                                                                                                                                                             )
                                                                                                                                                                                                                                                                                                                                                                             )
                                                                                                                                                                                                                                                                                                                                                                                     Jointly Administered
                                                                                                                                                                                                                                                                                                                                                                                     Related Docket Nos. 731, 740                                                          do much to keep the winter                   solar power systems. It also
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           winds at bay.”                               found that the sales price
                                                                                                                                                                                                                                                              described in the Request for Proposals                                     NOTICE OF (A) ENTRY OF ORDER CONFIRMING THIRD AMENDED JOINT CHAPTER 11 PLAN
                                                                                                                                                                                                                                                                                                                                       OF REORGANIZATION OF QUIKSILVER, INC. AND ITS AFFILIATED DEBTORS AND DEBTORS IN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Adding high-efficiency                   gain increased with the size
                                                                                                                                                                                                                                                                                                                                               POSSESSION, (B) OCCURRENCE OF EFFECTIVE DATE, AND (C) CERTAIN DEADLINES
                                                                                                                                                                                                                                                              (RFP) to enhance the security posture                                      PLEASE TAKE NOTICE that on January 29, 2016, the United States Bankruptcy Court for the District of Delaware (the
                                                                                                                                                                                                                                                                                                                                    “Bankruptcy Court”) entered an order (the“Confirmation Order”) [Docket No.740] confirming theThird Amended Joint Chapter
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           toilets can also translate                   of the solar system in the
                                                                                                                                                                                                                                                                                                                                    11 Plan of Reorganization of Quiksilver,Inc.and Its Affiliated Debtors and Debtors in Possession [Docket No.731] (the“Plan”).2         into savings, especially when                home.
                                                                                                                                                                                                                                                            of the Los Angeles International Airport                                Copies of the Confirmation Order and the Plan, together with all pleadings and orders of the Bankruptcy Court in the above-
                                                                                                                                                                                                                                                                                                                                    captioned chapter 11 cases,are publicly available by accessing the Bankruptcy Court’s website,http://www.deb.uscourts.gov,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           you factor in potential re-                      The appraisers, on aver-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           bates from water utilities                   age, found a premium of
                                                                                                                                                                                                                                                             (LAX) and to assist the LAWA Airport                                   for a nominal charge (a PACER account is required), or by accessing the website of the Debtors’claims, noticing and balloting
                                                                                                                                                                                                                                                                                                                                    agent,KurtzmanCarsonConsultants,LLC(the“ClaimsandSolicitationAgent”),https://www.kccllc.net/quiksilver,freeofcharge.                   that range from $25 to $200,                 about $14,000 for solar
                                                                                                                                                                                                                                                                                                                                         PLEASE TAKE FURTHER NOTICE that on February 11, 2016, the Effective Date of the Plan occurred. All conditions prece-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           according to the U.S. Envi-                  homes with typical-sized
                                                                                                                                                                                                                                                            Police Division (APD) in protecting the                                 dent to consummation of the Plan set forth in Article XI have either been satisfied or waived in accordance with the Plan and
                                                                                                                                                                                                                                                                                                                                    ConfirmationOrder.                                                                                                                     ronmental Protection Agen-                   systems of about 3.85 kilo-
                                                                                                                                                                                                                                                                                                                                         PLEASE TAKE FURTHER NOTICE that, except as set forth in the Plan or the Confirmation Order, all requests for
                                                                                                                                                                                                                                                              Airport perimeter. In addition, several                               payment of an Administrative Claim must be filed with the Claims and Solicitation Agent on or before March 14,
                                                                                                                                                                                                                                                                                                                                    2016,thefirstbusinessdayfollowingthedatethatis30daysaftertheEffectiveDate.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           cy. That could shorten the                   watts.
                                                                                                                                                                                                                                                                                                                                         PLEASE TAKE FURTHER NOTICE that all final requests for payment of Professional Claims for services rendered to the                time it takes to recover the                     The green premium isn’t
                                                                                                                                                                                                                                                            more RFPs are scheduled to be released                                  Debtors from the Petition Date through and including the Effective Date shall be filed with the Bankruptcy Court on or before
                                                                                                                                                                                                                                                                                                                                    March28,2016,thefirstbusinessdayfollowingthedatethatisforty-five(45)daysaftertheEffectiveDate.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           cost of such toilets, which                  a given. Some home apprais-
                                                                                                                                                                                                                                                                                                                                         PLEASE TAKE FURTHER NOTICE pursuant to Article VII of the Plan,unless an Executory Contract or Unexpired Lease:(a) is             are typically more expensive                 ers may not have the train-
                                                                                                                                                                                                                                                                  for upcoming Airport projects.                                    listed on the Schedule of Assumed Executory Contracts and Unexpired Leases contained in the Plan Supplement;(b) has been               than less-efficient ones, to a               ing to evaluate the value of
                                                                                                                                                                                                                                                                                                                                    previously assumed by the Debtors by Final Order of the Bankruptcy Court or has been assumed by the Debtors by order of the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           few years, the EPA says.                     green home features. Or
                                                                                                                                                                                                                                                            Interested parties must register with the                               BankruptcyCourtasoftheEffectiveDate,whichorderbecomesaFinalOrderaftertheEffectiveDate;(c)isthesubjectofamotion
                                                                                                                                                                                                                                                                                                                                    to assume or reject pending as of the Effective Date; (d) is an Executory Contract related to any Intercompany Claim; or (e) is                                                     there may not be enough
                                                                                                                                                                                                                                                                                                                                    otherwise assumed pursuant to the terms of the Plan, such Executory Contract or Unexpired Lease, is deemed automatically
                                                                                                                                                                                                                                                            City of Los Angeles Business Assistance                                 rejectedasoftheEffectiveDate.                                                                                                          Look into rebates. Certain                   comparable homes in the
                                                                                                                                                                                                                                                                                                                                         PLEASE TAKE FURTHER NOTICE that,unless otherwise provided by a Bankruptcy Court order,any proofs of Claim assert-
                                                                                                                                                                                                                                                                                                                                    ing Claims arising from the rejection of the Executory Contracts and Unexpired Leases pursuant to the Plan or otherwise must           energy and water-efficient                   area with such features, said
                                                                                                                                                                                                                                                            Virtual Network (LABAVN) in order to                                    be filed with the Claims and Solicitation Agent no later than 30 days after the later of the Effective Date or the effective date of
                                                                                                                                                                                                                                                                                                                                    rejection.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           improvements — including                     Sandra Adomatis, a certi-
                                                                                                                                                                                                                                                                                                                                         PLEASETAKE FURTHER NOTICE that,pursuant to ArticleVII,except as otherwise set forth in the Plan or Confirmation Order,            solar power systems, appli-                  fied general appraiser and
                                                                                                                                                                                                                                                              be able to download the released RFP                                  each Executory Contract or Unexpired Lease listed on the Schedule of Assumed Executory Contracts and Unexpired Leases in the
                                                                                                                                                                                                                                                                                                                                    Plan Supplement are deemed assumed as of the Effective Date,and shall be assumed,or assumed and assigned,as applicable,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ances and dual-pane win-                     instructor with the Apprais-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           dows — can qualify home-                     al Institute. She co-led the
                                                                                                                                                                                                                                                               and be notified of additional RFPs.                                  and shall vest in and be fully enforceable by the Reorganized Debtors or their assignees in accordance with its terms, except
                                                                                                                                                                                                                                                                                                                                    as modified by the provisions of the Plan or any order of the Bankruptcy Court authorizing or providing for its assumption or          owners for rebates from util-                solar power study.
                                                                                                                                                                                                                                                                                                                                    applicable federal law. Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed
                                                                                                                                                                                                                                                                   Go to http://www.labavn.org                                      shall include all modifications,amendments,supplements,restatements,or other agreements that in any manner affect such                 ities or government tax cred-                   One way to boost the like-
                                                                                                                                                                                                                                                                                                                                    Executory Contract or Unexpired Lease, and all rights related thereto, if any, including all easements, licenses, permits, rights,
                                                                                                                                                                                                                                                                                                                                    privileges,immunities,options,rights of first refusal,and any other interests,unless any of the foregoing agreements has been          its.                                         lihood that green remodel-
                                                                                                                                                                                                                                                                       to register your firm.                                       previously rejected or repudiated or is rejected or repudiated pursuant to the Plan.The Confirmation Order shall constitute an
                                                                                                                                                                                                                                                                                                                                    orderoftheBankruptcyCourtapprovinganysuchassumptionspursuanttosections365(a)and1123oftheBankruptcyCode.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               For example, the IRS of-                 ing features are factored into
                                                                                                                                                                                                                                                                                                                                         PLEASE TAKE FURTHER NOTICE that,unless a counterparty to an assumed Executory Contract or Unexpired Lease has filed               fers a tax credit of 30% of the              your home’s value by ap-
                                                                                                                                                                                                                                                                                                                                    or files a proper and timely objection to the Cure Notice or proposed Cure on or before the deadline set forth in the applicable
                                                                                                                                                                                                                                                                                                                                    Cure Notice,such counterparty shall be deemed to have consented to the Cure Amount and shall be forever barred from assert-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           cost of solar water heaters,                 praisers and would-be buy-
                                                                                                                                                                                                                                                                                                                                    ing,collecting,or seeking to collect any additional amounts relating thereto against the Debtors or the Reorganized Debtors,or         solar electric equipment and                 ers is to prioritize improve-
                                                                                                                                                                                                                                                                                                                                    thepropertyofanyofthem.
                                                                                                                                                                                                                                                                                                                                    Dated:Wilmington,Delaware,February11,2016,SKADDEN,ARPS,SLATE,MEAGHER&FLOMLLP,/s/VanC.Durrer,II ,VanC.Durrer,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           wind turbines. If the credit                 ments that make a visible
                                                                                                                                                                                                                                                                                                                                    II (I.D. No. 3827), Annie Z. Li, 300 South Grand Avenue, Suite 3400, Los Angeles, California 90071,Telephone: (213) 687-5000,          exceeds how much you owe                     dent in your utility bills.
                                                                                                                                                                                                                                                                                                                                    Fax:(213) 687-5600 -and- Mark S.Chehi (I.D.No.2855),One Rodney Square,P.O.Box 636,Wilmington,Delaware 19899-0636,
                                                                                                                                                                                                                                                                                                                                    Telephone:(302) 651-3000,Fax:(302) 651-3001 -and- John K.Lyons,Jessica Kumar,155 N.Wacker Dr.,Chicago,Illinois 60606,                  in taxes, the IRS allows you                    “If you can prove dollars
                                                                                                                                                                                                                                                                                                                     LAA3973966-1




                                                                                                                                                                                                                                                                                                                                    Telephone:(312)407-0700,Fax:(312)407-0411,CounselforDebtorsandDebtorsinPossession                                                      to carry over the unused por-                and cents, [buyers] are more
                                                                                                                                                                                                                                                                                                                                         The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:Quiksilver,Inc.(9426),
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           tion into the next year’s tax                willing to pay a premium,”
                                                                                                                                                                                                                                                                                                                                    1

                                                                                                                                                                                                                                                                                                                                    QS Wholesale,Inc.(8795),DC Direct,Inc.(8364),DC Shoes,Inc.(0965),Fidra,Inc.(8945),Hawk Designs,Inc.(1121),Mt.Waimea,
                                                                                                                                                                                                                                                                                                                                    Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505), Quiksilver Entertainment, Inc. (9667), and Quiksilver Wetsuits, Inc.    return.                                      Adomatis said.
                                                                                                                                                                                                                                                                                                                                    (9599).TheaddressoftheDebtors’corporateheadquartersis5600ArgosyCircle,HuntingtonBeach,California92649.
                                                                                                                                                                                                                                                                                                                                    2
                                                                                                                                                                                                                                                                                                                                         CapitalizedtermsusedbutnotdefinedhereinshallhavethemeaningsascribedtotheminthePlan.
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                Exhibit C
           Case 15-11880-BLS               Doc 825    Filed 02/23/16   Page 10 of 14




   AFFIDAVIT OF PUBLICATION
       STATE OF CALIFORNIA, )
                            ) ss.
       County of Orange     )
I am a citizen of the United States and a resident
of the County aforesaid; I am over the age of               PROOF OF PUBLICATION
eighteen years, and not a party to or interested in     ________________________________
the above entitled matter. I am the principal clerk
of The Orange County Register, a newspaper
of general circulation, published in the city of
Santa Ana, County of Orange, and which news-
paper has been adjudged to be a newspaper of
general circulation by the Superior Court of the
County of Orange, State of California, under the
date of November 19, 1905, Case No. A-21046,
that the notice, of which the annexed is a true
printed copy, has been published in each regular
and entire issue of said newspaper and not in any
supplement thereof on the following dates, to
wit:
February 18, 2016
“I certify (or declare) under the penalty of
perjury under the laws of the State of California
that the foregoing is true and correct”:
Executed at Santa        Ana,    Orange    County,
California, on


 Date: February 18, 2016




____________________________________
Signature
         The Orange County Register
             625 N. Grand Ave.
            Santa Ana, CA 92701
               (714) 796-2209
                                                                                                Case 15-11880-BLS               Doc 825        Filed 02/23/16          Page 11 of 14



       SEC: News                 DT: 02-18-2016 ZN: 1 ED: 1 PG #: 7                                            PG: PageC_A       BY: wfawthrop         TI: 02-17-2016 21:30 CLR: C
                                                                                                                                                                                 K
                                                                                                                                                                                 Y
                                                                                                                                                                                 M


The Orange County Register                                                                                                      NATION                                                           Thursday, Feb. 18, 2016 News 7
                                                                                                                                                                                                                                      1




                       RIPPLE EFFECT OF IPHONE BATTLE
  Apple will fight a
 federal court order
   to help the FBI
hack San Bernardino
  shooter’s phone.
          B y TA M I A B D O L L A H                                                                                                                                                             U.S. CUSTOMS AND BORDER PROTECTION
            and ERIC TUCKER                                                                                                                                                                      A July 27, 2014, photo shows
          THE ASSOCIATED PRESS                                                                                                                                                                   Tashfeen Malik, left, and Syed
                                                                                                                                                                                                 Rizwan Farook at O’Hare In-
WASHINGTON An extraordinary
                       ●                                                                                                                                                                         ternational Airport in Chicago.
legal fight is brewing with major
privacy implications for millions
of cellphone users after a federal                                                                                                                                                               Mich., called the Justice Depart-
magistrate ordered Apple Inc. to                                                                                                                                                                 ment’s request “unconscionable
help the FBI hack into an iPhone                                                                                                                                                                 and unconstitutional.”
used by the gunman in the San                                                                                                                                                                       The ruling by U.S. Magistrate
Bernardino mass shootings.                                                                                                                                                                       Judge Sheri Pym represents a
   The clash brings to a head a                                                                                                                                                                  significant victory for the Justice
long-simmering debate between                                                                                                                                                                    Department, which last year de-
technology companies insistent                                                                                                                                                                   cided not to pursue a legislative
on protecting digital privacy and                                                                                                                                                                fix to address encryption but has
law enforcement agencies con-                                                                                                                                      RICHARD DREW, AP FILE PHOTO   now scored a win instead in the
cerned about losing their ability                              Apple CEO Tim Cook contends the software a federal magistrate judge has ordered the company to pro-                               courts.
to recover evidence or eavesdrop                               vide is “too dangerous to create” and “undeniably” a backdoor.                                                                       Federal officials until now have
on the communications of terro-                                                                                                                                                                  struggled to identify a high-pro-
rists or criminals.                                            where.                                               lock the gunman’s work-issued             There also was swift reaction      file case to make its concerns res-
   On Wednesday, the White                                       “They are not asking Apple to                      iPhone 5C would be “too danger-        on Capitol Hill, where the chair-     onate.
House quickly disputed the con-                                redesign its product or to create a                  ous to create” and “undeniably” a      man of the Senate Intelligence           But in siding with the gov-
tention by Apple’s chief execu-                                new backdoor to one of their pro-                    backdoor.                              Committee, Richard Burr, R-N.C.,      ernment, Pym, a former federal
tive, Tim Cook, that the Obama                                 ducts,” White House spokesman                           Cook compared it to a master        said, “Court orders are not op-       prosecutor, was convinced that
administration is seeking to force                             Josh Earnest said. “They’re simp-                    key, capable of opening hundreds       tional and Apple should comply.”      agents investigating the worst
the software company to build a                                ly asking for something that                         of millions of locks, and said there      Democratic Sen. Dianne Fein-       terror attack on U.S. soil since
“backdoor” to bypass digital locks                             would have an impact on this one                     was no way to keep the technique       stein of California, who fought en-   Sept. 11 had been hobbled by their
protecting consumer information                                device.”                                             secret once it was developed.          cryption in the 1990s, said she       inability to unlock the San Ber-
on Apple’s popular iPhones.                                      Within hours of the judge’s or-                       At the center of the debate is      thought the government should         nardino County-owned phone
   The early arguments set the                                 der on Tuesday telling Apple to                      the private information carried        be able to access the phone. On       used by Syed Farook, who along
stage for what will likely be a pro-                           aid the FBI with special software                    on nearly 900 million iPhones sold     Twitter, Edward Snowden called        with his wife, Tashfeen Malik,
tracted policy and public rela-                                in the case, Cook promised a                         worldwide: Photographs, videos,        it “the most important tech case      killed 14 people in December be-
tions fight in the courts, on Capi-                            court challenge. He said the soft-                   chat messages, health records          in a decade.”                         fore dying in a police shootout.
tol Hill, on the Internet and else-                            ware the FBI would need to un-                       and more.                                 But Rep. Justin Amash, R-




                                                                                 Q&A: A LOOK AT THE ENCRYPTION COURT FIGHT
                                                              THE ASSOCIATED PRESS                      ernment.                        protection but, until now,      tempts to guess the pass-       how readily the software
                                                                                                           Here’s a look at the case:   had struggled to identify a     code. The FBI wants to be       could be adapted to work
                                                                                                        Q. What makes this ruling so    major case that shows how       able to try different combi-    against other phones. And
                                                               WASHINGTON ● A U.S.                      important?                      Apple’s encryption can          nations in rapid sequence       the FBI would likely share
                                                            magistrate     judge                        A. Federal law enforcement      hobble their investigations.    until it finds the right one.   its new tool with U.S. in-
                                                            has ordered Apple                           and leading technology          Q. How’s Apple supposed to      Q. What impact will this have   telligence agencies – and
                                                            to help the FBI                             companies have long been        help?                           on other Apple users?           possibly foreign allies –
                                                            break into a work-is-                       at an impasse about how         A. Magistrate Judge Sheri       A. The Justice Depart-          that are investigating glo-
                                                         sued iPhone used by a                          to balance digital privacy      Pym’s order forces Apple        ment said it’s asking Apple     bal terrorism.
                                                       gunman in the mass                               for consumers against the       to create and supply highly     only to help unlock the         Q. How is this legal?
                                                        shooting in San Bernar-                         responsibility of federal       specialized software that       iPhone used by gunman           A. Pym relied on the 1789
                                                        dino. Apple CEO Tim                             agents and police to in-        the FBI can load onto the       Syed Farook. The judge          All Writs Act, which has
                                                        Cook immediately ob-                            vestigate crimes or terro-      iPhone. That software           said the software should        been used many times in
                                                       jected, setting the stage                        rism. The Obama admi-           would bypass a self-des-        include a “unique identi-       the past by the gov-
                                                      for a high-stakes legal                           nistration has acknow-          truct feature that erases       fier” so that it can’t be       ernment to require a third
                                                    fight between Silicon Valley                        ledged encryption as va-        the phone’s data after too      used to unlock other            party to aid law enforce-
                 PATRICK TEHAN, MCT                 and the federal gov-                                luable for privacy              many unsuccessful at-           iPhones. But it’s unclear       ment in its investigation.



   B
        Y
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                                                                            SPECIALS




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           Not valid with other offers.                      Not valid with other offers.




  15                % &Citizens  FREE CAMERA INSPECTION
                        Senior

                    OFF Military
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  Coupon expires 2/29/16. Not valid on holidays.
                                                    With Any Drain Service Through Proper
                                                       Ground-Level Clean-Out Access.
                                                    Coupon expires 2/29/16. Not valid on holidays.
           Not valid with other offers.                      Not valid with other offers.
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                    Exhibit D
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INTERNATIONAL NEW YORK TIMES                                                                                                                                                                                                                                                       THURSDAY, FEBRUARY 18, 2016 | 15


                                                                                                                                                                               economy companies business


Start-ups step in for banks over marijuana sales                                                                                                                                                                                                                                               RWE skips
With business booming,
                                                                                                                                                                                                                                                                                               dividend for
cash-only industry seeks
transparent transactions
                                                                                                                                                                                                                                                                                               the first time
BY NATHANIEL POPPER
                                                                                                                                                                                                                                                                                               in 23 years
When Lamine Zarrad was not at his job                                                                                                                                                                                                                                                          FRANKFURT
as a federal banking regulator in recent
months, he was spending a lot of time at                                                                                                                                                                                                                                                       REUTERS
Denver’s marijuana dispensaries.
   As a federal employee, he could not                                                                                                                                                                                                                                                         RWE, the German utility, said on
partake of the pot.                                                                                                                                                                                                                                                                            Wednesday that it would not pay a divi-
   He was there, instead, to pitch the                                                                                                                                                                                                                                                         dend on its common stock for 2015 to
shops on a start-up he has been working                                                                                                                                                                                                                                                        conserve cash following major write-
on in his free time and is making official                                                                                                                                                                                                                                                     downs on power stations at home and
this week after quitting his job as a bank                                                                                                                                                                                                                                                     abroad. It is the first time in 23 years
examiner at the Office of the Comp-                                                                                                                                                                                                                                                            that RWE has not paid a dividend.
troller of the Currency, a division of the                                                                                                                                                                                                                                                        RWE shares slumped nearly 13 per-
United States Treasury Department.                                                                                                                                                                                                                                                             cent in Frankfurt on the news.
   Mr. Zarrad’s start-up, Tokken (pro-                                                                                                                                                                                                                                                            German utilities have been burdened
nounced token), is one of several re-                                                                                                                                                                                                                                                          by the government’s decision to close
cently created companies looking to                                                                                                                                                                                                                                                            all the country’s nuclear plants and by a
solve one of the most vexing problems                                                                                                                                                                                                                                                          plunge in wholesale power prices. A
facing marijuana businesses in Colorado                                                                                                                                                                                                                                                        rapid expansion in renewable energy
and several other states: the endless flow                                                                                                                                                                                                                                                     has compounded the difficulties.
of dirty, dangerous, hard-to-track cash.                                                                                                                                                                                                                                                          The four largest utilities operating in
   The State of Colorado legalized                                                                                                                                                                                                                                                             the country— RWE, E.ON , EnBW and
marijuana for recreational use in 2014,                                                                                                                                                                                                                                                        Vattenfall — have so far set aside 39 bil-
joining several other states where the                                                                                                                                                                                                                                                         lion euros, or $43.5 billion, in provisions
drug has been decriminalized in some                                                                                                                                                                                                                                                           to fund the shutdown of their nuclear
form. But Visa and MasterCard will not                                                                                                                                                                                                                                                         power plants, the last of which is set to
process transactions for pot dispensar-                                                                                                                                                                                                                                                        close in 2022.
ies, and most banks will not open ac-                                                                                                                                                                                                                                                             RWE has also struggled with prob-
counts for the businesses — leaving dis-                                                                                                                                                                                                                                                       lems at its British subsidiary Npower,
pensaries dealing with a constant influx                                                                                                                                                                                                                                                       which has been losing customers after a
of cash and nowhere good to put it.                                                                                                                                                                                                                                                            series of billing errors.
   Tokken and other start-ups, with                                                                                                                                                                                                                                                               As a result, RWE took a ¤2.1 billion
names like Hypur and Kind Financial,                                                                                                                                                                                                                                                           write-down on plants in Germany and
have been putting together software                                                                                                                                                                                                                                                            Britain, resulting in a net loss of ¤200
that helps banks and dispensaries mon-                                                                                                                                                                                                                                                         million in 2015. The utility was also hit by
itor and record transactions, with the                                                                                                                                                                            PHOTOGRAPHS BY NICK COTE FOR THE NEW YORK TIMES                              a ¤900 million charge for deferred taxes.
long-term goal of moving transactions           Lamine Zarrad, left, a former federal bank examiner, created Tokken to help solve the banking difficulties faced by people like Stephanie Hopper, right, a dispensary owner in Denver.                                                            ‘‘We know that we might disappoint
away from cash.                                                                                                                                                                                                                                                                                many shareholders’’ with the dividend
   Stephanie Hopper, the owner of Ball-                                                                                                                                                                                                                                                        decision, RWE’s chief executive, Peter
park Holistic Dispensary in Denver,             gality of this is still unclear.                                                                                                                       understand the financial system better.                                                 Terium, said in a statement on Wednes-
said the tech solutions could not come             A few credit unions and small banks                                                                                                                    In his nearly two years with the                                                     day. ‘‘However, it is necessary in order
soon enough.                                    in Colorado have opened accounts for                                                                                                                   O.C.C., Mr. Zarrad was often on the road,                                               to strengthen our company.’’
   ‘‘We are all kind of chomping at the         dispensaries — but they generally take                                                                                                                 combing through the books of regulated                                                     Analysts had expected a dividend of 61
bit, trying to figure out what to do,’’ Ms.     on only a few marijuana customers                                                                                                                      banks. He said that his teams would not                                                 euro cents per common share, according
Hopper said. ‘‘We’re fighting so hard on        each, and even they are still generally                                                                                                                crack down on banks if they were                                                        to Thomson Reuters data. For preferred
so many fronts that taking one thing off        unable to process electronic payments.                                                                                                                 openly working with marijuana busi-
of us would be such a relief.’’                    Ms. Hopper, one of the lucky dispens-                                                                                                               nesses, as long as they were tracking                                                   ‘‘We might disappoint many
   The array of attempted answers to            ary owners to have a bank account, is                                                                                                                  the transactions carefully.
Ms. Hopper’s problems underscores               still left doing much of her business in                                                                                                                  The problems cropped up when the
                                                                                                                                                                                                                                                                                               shareholders. However, it is
what a gray area the marijuana industry         cash and sending it out covertly with                                                                                                                  banks did not take enough steps to pre-                                                 necessary in order to
still occupies. Despite the various state       employees, who deposit it at the bank,                                                                                                                 vent money laundering, the process of                                                   strengthen our company.’’
laws legalizing it, marijuana is still listed   constantly worrying about their safety.                                                                                                                making illegally gained proceeds ap-
by the federal authorities as a so-called          ‘‘We make sure it’s never the same                                                                                                                  pear legal.
Schedule 1 drug. Such drugs, which also         person — never the same time of day,’’                                                                                                                    Mr. Zarrad began working on Tokken                                                   shares, which account for only about 6
include LSD and heroin, are deemed to           she said.                                                                                                                                              in his free time, and found a program-                                                  percent of RWE’s stock, the company
have the highest potential for abuse.              Most of the start-ups trying to help                                                                                                                ming partner, Tom Rau, who lives in                                                     will pay a dividend of 13 cents per share.
   The United States Department of              with this problem are focused, in one                                                                                                                  North Carolina. The system they have                                                       ‘‘This is a major blow and really
Justice has said that it will generally let     way or another, on tracking every detail                                                                                                               built will allow customers to make pur-                                                 throws us off our feet,’’ said Ernst Ger-
states enforce their own laws on                of every purchase in a more sophisticat-                                                                                                               chases with a Tokken app on their                                                       lach, head of VkA, a group representing
marijuana. And the arm of the Treasury          ed way. Careful record-keeping can an-                                                                                                                 smartphone, taking cash out of the                                                      municipal shareholders in RWE, which
Department responsible for enforcing            swer the concerns of banks worried                                                                                                                     equation.                                                                               have a 24 percent stake in the utility.
money-laundering laws has provided              about violating anti-money laundering                                                                      BENJAMIN RASMUSSEN FOR THE NEW YORK TIMES      The special sauce that sets apart                                                       ‘‘With a supervisory board meeting
guidelines for banks that want to work          laws. The start-ups hope their software         A customer at Tru Cannabis in Denver. Most marijuana dispensaries cannot get bank ac-                  Tokken is that every transaction will be                                                only one and a half weeks away, this an-
with marijuana-related businesses. But          can allow banks to open up their ac-            counts and they cannot accept credit cards, so they often contend with large amounts of cash.          recorded on the ledger underlying the                                                   nouncement is not a trust-building mea-
federally regulated banks have gener-           counts, and their payment networks, to                                                                                                                 Bitcoin system — known as the block-                                                    sure,’’ he said.
ally refused to open accounts, and credit       cannabis businesses.                                                                                                                                   chain. Because transactions on the                                                         RWE said late last year that it would
card companies have prohibited transac-            Hypur, a two-year-old company based          for the dispensary.                             pensary — making it unnecessary for                    blockchain are irrevocable, pot dispens-                                                split off and separately list its better-
tions from going across their networks.         in Arizona, has built software for banks          Mr. Zarrad’s start-up, Tokken, is             the banks to deal directly with dispens-               aries and banks will have a reliable and                                                performing subsidiaries handling re-
   There are already several less savory        that uses GPS to geo-locate each pur-           younger than the others, but he is aim-         aries.                                                 complete record of all Tokken transac-                                                  newable energy, networks and retail
ways of dealing with the cash problem.          chase and prove it was done in an au-           ing to offer something new — an elec-             Mr. Zarrad is confident he can stay on               tions, including the specifics of each                                                  sales in 2016, hoping to redirect the util-
Some dispensaries open bank accounts            thorized dispensary.                            tronic payment system that will not rely        the good side of the banks because of his              transaction — without requiring any                                                     ity away from the bread-and-butter
under fake names. Mr. Zarrad, the                  That has been enough to allow Hypur          on the credit card companies or debit           experience as a regulator and, before                  Bitcoins to change hands (a tiny portion                                                business of power plants.
founder of Tokken, said that in his regu-       to raise more than $5 million from in-          networks. Somewhat like PayPal or               that, in the financial industry.                       of a Bitcoin will be sent between Tokken                                                   In releasing its results, RWE said it had
latory work, he caught a number of              vestors.                                        Venmo, Tokken will use the electronic             Mr. Zarrad, 36, briefly worked as a fi-              accounts to record the transaction on                                                   achieved its goals for 2015, posting under-
these schemes when he was examining                The California-based start-up Kind           money transfer system in the United             nancial adviser for Merrill Lynch after                the blockchain).                                                                        lying net income of ¤1.1 billion and operat-
banks in Colorado.                              Financial is offering software as well as       States known as the Automated Clear-            serving in the Marine Corps for six                       Mr. Zarrad hopes that the transpar-                                                  ing profit of ¤3.8 billion. It cautioned,
   In a slightly more legitimate maneu-         hardware, in the form of kiosks that can        inghouse, or ACH, to move money from            years. He took the job with the O.C.C.,                ency offered by Tokken’s blockchain                                                     though, that it expected net income to de-
ver, some small companies have offered          go inside dispensaries. Customers can           the bank account of a dispensary cus-           which regulates all national banks, in                 backbone will make banks feel comfort-                                                  cline to between ¤500 million and ¤700
prepaid cards that can be used for pur-         deposit cash in the Kind kiosk to pay for       tomer to Tokken’s bank account. Tokken          part because he spotted the opportunity                able opening up accounts for the start-                                                 million, and operating profit to fall to ¤2.8
chases in dispensaries, though the le-          their purchase, removing one headache           will then keep subaccounts for each dis-        in marijuana compliance and wanted to                  up.                                                                                     billion to ¤ 3.1 billion in 2016.




A winning effort to give the art, at least, a home                                                                                                                                                     Bombardier will cut 7,000 jobs
                                                                                                                                                                                                       OTTAWA                                                                                  livering the aircraft within three years
BY GLENN RIFKIN                                 years of searching for a creative way to           The goal was to provide a way for            from the sale of their work. ArtLifting                                                                                                        but gave no value for the sale.
                                                help homeless people. After graduation,         these disenfranchised artists to sell their     has already sold artwork to the Staples                BY IAN AUSTEN                                                                              The company also reported on
In September 2014, Scott Benner, a              she joined LIFT, a national nonprofit or-       work, enhance self-esteem and change            headquarters in Framingham, Mass.,                                                                                                             Wednesday that its revenue had fallen
former heavy equipment operator, was            ganization, where she was trained to            their lives. Starting with a $4,000 invest-     and the Microsoft Innovation Center in                 Bombardier, the Canadian transporta-                                                    to just over $18 billion in 2015 from about
homeless, unemployed and staying at             work with the homeless, helping people          ment from their savings, the Powerses           San Francisco. In addition, the company                tion company, said on Wednesday that it                                                 $20 billion in the previous year. It lost
Father Bill’s Place & MainSpring, a             grapple with housing issues, unemploy-          started ArtLifting as a for-profit busi-        is seeking licensing deals with corpo-                 would lay off about 7,000 employees                                                     $2.58 a share for the year, compared
shelter in Quincy, Mass.                        ment, food access and self-esteem.              ness. It got noticed in the Boston media,       rate clients to get artists’ work on tote-             over the next two years, as it struggles                                                with a loss of 74 cents a share in 2014.
   Fending off a debilitating illness and         During her one-on-one sessions, Ms.           and the fledgling venture took off.             bags, greeting cards, smartphone cases                 to find buyers for a new series of planes                                                  The company said that nearly half of
depression, Mr. Benner spent hours              Powers heard a familiar refrain. ‘‘A lot           The company now has contracts with           and other products.                                    that for the first time put it in direct com-                                           the announced cuts would be in Europe,
making art, something he had done               of our clients said to me, ‘Liz, I’m in-        more than 70 artists, six-figure revenue,         According to Kelly McKenna, ArtLift-                 petition with the aviation giants Boeing                                                involving around 3,300 jobs. It said 2,800
much of his life. His compelling pen-and-       credibly lonely,’’’ she said. How, she          seven full-time employees and offices in        ing’s chief operating officer, the com-                and Airbus.                                                                             jobs would be cut in Canada.
ink drawings enticed the Boston start-          wondered, could she create a safe space         eight cities. Spencer Powers departed           pany is basing its sales projections on                   After a prolonged drought in sales an-                                                  Bombardier shares rose nearly 19
up ArtLifting to add him to its collection      to bring these people together to sup-          for business school, leaving his sister in      similar business models, such as that of               nouncements, the maker of airliners                                                     percent to 1.07 Canadian dollars, or
of homeless and disabled artists whose          port one another?                               charge. Last summer, Ms. Powers                 Etsy, the online artisan site, which in-               and trains said that Air Canada, which                                                  about 78 cents, by midday Wednesday
work was being sold on its website.               Having been an artist, she combined           raised more than $1 million from more           creased sales tenfold in its second year.              has its headquarters in Montreal, had                                                   in Toronto.
   So good was Mr. Benner’s work that           her passions and urged local shelters to        than 20 venture capitalists and angel in-       ArtLifting is building a sales force to                signed a letter of intent to buy 45 of the                                                 The province of Quebec had given fi-
Liz Powers, founder of ArtLifting, ar-          create groups where their residents             vestors. Among them was Blake                   fuel similar growth.                                   new CSeries planes, with options for 30                                                 nancial assistance to the company for
ranged for a solo gallery show on Bos-                                                          Mycoskie, the founder of TOMS, a social           ‘‘We have the funding right now, but it              more. Bombardier expects to start de-                                                   its airliner program.
ton’s fancy Newbury Street at which             The start-up ArtLifting takes                   enterprise that began by giving away a          isn’t going to be here forever,’’ said Ms.
several of his pieces were sold for hun-                                                        pair of shoes to a needy person for every       McKenna, a Harvard Business School
dreds of dollars.
                                                pieces created by homeless                      pair the company sold. Mr. Mycoskie             graduate who said she turned down                                   IN THE UNITED STATES BANKRUPTCY COURT                                        PLEASE TAKE FURTHER NOTICE that, unless otherwise provided by a
   For Mr. Benner, 58, who lost his job in      and disabled people, finds                      started the TOMS Social Entrepreneur-           more lucrative job offers to join ArtLift-                                  FOR THE DISTRICT OF DELAWARE                                     Bankruptcy Court order,any proofs of Claim asserting Claims arising from the rejec-
                                                                                                                                                                                                                                       ) Chapter 11                                          tion of the Executory Contracts and Unexpired Leases pursuant to the Plan or other-
2009 and despaired as his marriage              buyers, and shares the                          ship Fund last fall, and ArtLifting was         ing. ‘‘This is a critical year to grow                  In re:                         )                                                     wise must be ﬁled with the Claims and Solicitation Agent no later than 30 days after
                                                                                                                                                                                                        QUIKSILVER, INC., et al., ) Case No. 15-11880 (BLS)                                  thelateroftheEffectiveDateortheeffectivedateofrejection.
broke up and he spiraled into homeless-         proceeds with the artists.                      among its first investments.                    sales, and we’re hoping to close two ma-                           Debtors.1              Jointly Administered
                                                                                                                                                                                                                                                                                                 PLEASETAKEFURTHERNOTICEthat,pursuanttoArticleVII,exceptasotherwise
                                                                                                                                                                                                                                       ) Related Docket Nos. 731, 740
ness, the solo show in Boston served as                                                            ‘‘Liz’s realization that talented home-      jor licensing deals and do 10 times the                       NOTICE OF (A) ENTRY OF ORDER CONFIRMING THIRD                                  set forth in the Plan or Conﬁrmation Order, each Executory Contract or Unexpired
                                                                                                                                                                                                                                                                                             Lease listed on the Schedule of Assumed Executory Contracts and Unexpired Leases
a startling juxtaposition from where he                                                         less and disabled artists should have a         sales with e-commerce.’’                                   AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION
                                                                                                                                                                                                                                                                                             in the Plan Supplement are deemed assumed as of the Effective Date, and shall be
                                                                                                                                                                                                            OF QUIKSILVER, INC. AND ITS AFFILIATED DEBTORS AND
had been to where he might be going.            could come together, make art and earn          market to sell their artwork — and that a         Though there is potential for an artist                  DEBTORS IN POSSESSION, (B) OCCURRENCE OF EFFECTIVE                                assumed, or assumed and assigned, as applicable, and shall vest in and be fully
                                                                                                                                                                                                                          DATE, AND (C) CERTAIN DEADLINES                                    enforceable   by the Reorganized Debtors or their assignees in accordance with its
   ‘‘There I was with people sipping            one another’s trust. With a public ser-         purpose-driven business could fill this         to strike it big with a lucrative licensing                                                                                                  terms,except as modiﬁed by theprovisions of the Plan or any order of the Bankruptcy
                                                                                                                                                                                                           PLEASE TAKE NOTICE that on January 29, 2016, the United States Bankruptcy Court authorizing or providing for its assumption or applicable federal law. Unless
wine, eating cheese and crackers, and           vice fellowship from Harvard, she spent         need — felt very much like the ‘Aha’ mo-        deal, Ms. Powers said the more realistic               Court for the District of Delaware (the “Bankruptcy Court”) entered an order (the otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is
talking about art,’’ he recalled. ‘‘And an      a year working on her concept. What             ment to start TOMS,’’ Mr. Mycoskie said.        outcome is providing the artists with                  “Conﬁrmation Order”) [Docket No.740] conﬁrming theThird Amended Joint Chapter assumed shall include all modiﬁcations, amendments, supplements, restatements,
                                                                                                                                                                                                       11 Plan of Reorganization of Quiksilver,Inc.and Its Afﬁliated Debtors and Debtors in or other agreements that in any manner affect such Executory Contract or Unexpired
hour after the show was over, I was on          Ms. Powers discovered was that many             A believer that the best ventures com-          the self-confidence and assurance that                 Possession [Docket No.731] (the“Plan”).2 Copies of the Conﬁrmation Order and the Lease,and all rights related thereto,if any,including all easements,licenses,permits,
                                                                                                                                                                                                       Plan, together with all pleadings and orders of the Bankruptcy Court in the above- rights,privileges,immunities,options,rights of ﬁrst refusal,and any other interests,
the T going back to Quincy, where I had         shelters already had art programs and           bine profit and purpose, Mr. Mycoskie           springs from being appreciated and                     captioned chapter 11 cases, are publicly available by accessing the Bankruptcy unless any of the foregoing agreements has been previously rejected or repudiated
to turn in my wallet and medications, be        closets filled with discarded artwork.          eschewed the nonprofit route because            paid for their talent. The objective is less           Court’s website, http://www.deb.uscourts.gov, for a nominal charge (a PACER or is rejected or repudiated pursuant to the Plan.The Conﬁrmation Order shall consti-
                                                                                                                                                                                                       account is required), or by accessing the website of the Debtors’ claims, noticing tute an order of the Bankruptcy Court approving any such assumptions pursuant to
searched and then go back into the shel-           But in the mix was enough quality ma-        he did not want to depend on grants and         about money than about providing hope                  and balloting agent,Kurtzman Carson Consultants,LLC (the“Claims and Solicitation sections365(a)and1123oftheBankruptcyCode.
ter where guys were fighting and puk-           terial to get her thinking. If these            fund-raising to sustain the business. It is     in people’s lives, she said.                           Agent”),https://www.kccllc.net/quiksilver,freeofcharge.                                   PLEASE TAKE FURTHER NOTICE that, unless a counterparty to an assumed
                                                                                                                                                                                                           PLEASE TAKE FURTHER NOTICE that on February 11, 2016, the Effective Date Executory Contract or Unexpired Lease has ﬁled or ﬁles a proper and timely objec-
ing and passing out. It was surreal.’’          artists’ work could be seen, they might         a philosophy shared by Ms. Powers.                Kitty Zen, a 25-year-old Boston artist,              of the Plan occurred.All conditions precedent to consummation of the Plan set forth tion to the Cure Notice or proposed Cure on or before the deadline set forth in the
                                                                                                                                                                                                       in Article XI have either been satisﬁed or waived in accordance with the Plan and applicable Cure Notice,such counterparty shall be deemed to have consented to the
   A few months after the show, Mr. Ben-        be able to sell it. In 2013, Boston Proper-        Ms. Powers is eager to dispel any mis-       has been homeless since age 16, and her                ConﬁrmationOrder.                                                                     Cure Amount and shall be forever barred from asserting,collecting,or seeking to col-
ner found subsidized housing on the             ties, a real estate trust, donated a space      conceptions about the company. ArtLift-         connection to ArtLifting has not solved                    PLEASE TAKE FURTHER NOTICE that,except as set forth in the Plan or the lect any additional amounts relating thereto against the Debtors or the Reorganized
                                                                                                                                                                                                       Conﬁrmation Order, all requests for payment of an Administrative Claim Debtors,orthepropertyofanyofthem.
Maine coast, and last Christmas ArtLift-        inside the city’s Prudential Center shop-       ing is an art broker, and all the artists are   her housing issue. But her experience                  must be ﬁled with the Claims and Solicitation Agent on or before March
ing sold one of his drawings for $2,500.                                                                                                                                                               14, 2016, the ﬁrst business day following the date that is 30 days after the Dated:Wilmington, Delaware, February 11, 2016, SKADDEN, ARPS, SLATE, MEAGHER
                                                ping mall, and Ms. Powers mounted an            recommended by someone from various             with the company has been revelatory.                  EffectiveDate.                                                                        & FLOM LLP,/s/Van C.Durrer,II ,Van C.Durrer,II (I.D.No.3827),Annie Z.Li,300 South
Like his fellow ArtLifting artists, Mr.         art show for shelter artists. Shoppers          shelters around the country; the artists        Her first sale was for $1,000, with $550                   PLEASE TAKE FURTHER NOTICE that all ﬁnal requests for payment of Grand Avenue,Suite 3400,Los Angeles,California 90071,Telephone:(213) 687-5000,
                                                                                                                                                                                                       Professional Claims for services rendered to the Debtors from the Petition Date Fax:(213) 687-5600 -and- Mark S.Chehi (I.D.No.2855),One Rodney Square,P.O.Box
Benner said Ms. Powers had played a             stopped, admired the art, bought some           must apply to ArtLifting to represent           for her.                                               through and including the Effective Date shall be ﬁled with the Bankruptcy Court on 636,Wilmington,Delaware 19899-0636,Telephone:(302) 651-3000,Fax:(302) 651-
significant role in turning around his          of the work and asked, ‘‘When is the            their work. The artwork must be of high           ‘‘When I got that first check, it was                or before March 28,2016,the ﬁrst business day following the date that is forty-ﬁve 3001 -and- John K. Lyons, Jessica Kumar, 155 N.Wacker Dr., Chicago, Illinois 60606,
                                                                                                                                                                                                       (45)daysaftertheEffectiveDate.                                                        Telephone:(312) 407-0700, Fax:(312) 407-0411, Counsel for Debtors and Debtors in
fortunes. ‘‘She exudes energy,’’ he said.       next show?’’ ArtLifting was born.               enough quality to be approved by a staff        amazing!’’ Ms. Zen said. ‘‘I didn’t want                   PLEASE TAKE FURTHER NOTICE pursuant to Article VII of the Plan, unless an 1Possession
                                                                                                                                                                                                       Executory Contract or Unexpired Lease: (a) is listed on the Schedule of Assumed           The Debtors and the last four digits of their respective taxpayer identiﬁcation
‘‘Even though I just met her, I turned             ‘‘My brother Spencer and I brain-            curator. ‘‘The easiest way to describe a        to cash it. I wanted to frame it. The                  Executory Contracts and Unexpired Leases contained in the Plan Supplement;(b) has numbers are as follows: Quiksilver, Inc. (9426), QS Wholesale, Inc. (8795), DC Direct,
over my whole life’s artwork to her be-         stormed, ‘How can this be scaled? How           good fit is that it is salable art,’’ Ms.       biggest absolute feeling of ‘wow’ was                  been previously assumed by the Debtors by Final Order of the Bankruptcy Court or Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc. (8945), Hawk Designs, Inc. (1121),
                                                                                                                                                                                                       has been assumed by the Debtors by order of the Bankruptcy Court as of the Effective Mt. Waimea, Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505), Quiksilver
cause I knew I was in good hands.’’             can we help people not just in Boston           Powers said. ‘‘It can be abstract, or real-     having my art displayed at the Museum                  Date, which order becomes a Final Order after the Effective Date; (c) is the subject Entertainment, Inc. (9667), and Quiksilver Wetsuits, Inc. (9599).The address of the
   Ms. Powers, a 27-year-old Harvard so-        but across the country? How can we              istic, but it must be something you can         of Fine Arts, knowing that the summer                  of a motion to assume or reject pending as of the Effective Date; (d) is an Executory Debtors’corporate headquarters is 5600 Argosy Circle,Huntington Beach,California
                                                                                                                                                                                                       Contract related to any Intercompany Claim;or (e) is otherwise assumed pursuant to 292649.
ciology graduate, founded ArtLifting            help not just one day a year but every          imagine in someone’s home or office.’’          before that, I was selling my art outside              the terms of the Plan, such Executory Contract or Unexpired Lease,is deemed auto-         Capitalized terms used but not deﬁned herein shall have the meanings ascribed
                                                                                                                                                                                                       maticallyrejectedasoftheEffectiveDate.                                                totheminthePlan.
with her brother Spencer in 2013 after          day?’’’ she said.                                  Artists receive 55 percent of the profit     on a blanket on the Boston Common.’’
